           Case 2:13-cv-20000-RDP Document 2928 Filed 06/24/22 Page 1 of 37                                    FILED
                                                                                                      2022 Jun-24 PM 09:31
                                                                                                      U.S. DISTRICT COURT
                                                                                                          N.D. OF ALABAMA




                            IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF ALABAMA
                                     SOUTHERN DIVISION

IN RE: BLUE CROSS BLUE SHIELD                                 :
ANTITRUST LITIGATION                                          :      Master File No. 2:13-cv-20000-RDP
MDL 2406                                                      :
                                                              :
                                                              :
                                                              :      This document relates to
                                                              :      Subscriber Track cases


                   DECLARATION OF JENNIFER M. KEOUGH REGARDING
                               EXCLUSION REQUESTS


I, JENNIFER M. KEOUGH, declare as follows:

           1.       I am Chief Executive Officer (“CEO”) and President of JND Legal Administration

LLC (“JND”). JND has extensive experience with all aspects of legal administration and has

administered settlements in hundreds of class action cases.

           2.       JND was appointed as the Notice and Claims Administrator1 in the above captioned

litigation for the purposes of administering the Settlement Agreement, dated October 30, 2020

(ECF No. 2610-2), which was approved preliminarily by the Court in its Memorandum Opinion

and Order Preliminarily Approving Settlement, Plan of Distribution, and Notice Plan, and

Directing Notice to the Class, dated November 30, 2020 (“Preliminary Approval Order” or “Notice

Order”). ECF No. 2641.

           3.       I previously filed several declarations in connection with this matter, including a

Declaration Regarding Proposed Notice Plan, dated October 30, 2020 (“First Keough

Declaration”); a Declaration Regarding Notice Plan and Settlement Administration, dated


1
    Unless otherwise noted, capitalized terms have the same meaning as in the Settlement Agreement.
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September 3, 2021 (“Second Keough Declaration”); a Declaration Regarding Supplemental Notice

to Self-Funded Accounts, dated January 10, 2022 (“Third Keough Declaration”); and a Declaration

of Jennifer M. Keough Regarding Supplemental Notice Plan and Settlement Administration, dated

May 10, 2022. ECF Nos. 2611-2, 2812-2, 2885-1, and 2914-1, respectively. This Declaration is

being filed to report on all exclusion requests received to date. It is based on my personal

knowledge, as well as upon information provided to me by experienced JND employees, and if

called upon to do so, I could and would testify competently thereto.

       4.      According to Preliminary Approval Order, the deadline to request exclusion (opt

out) from the Settlement was July 28, 2021.           According to Order Granting Motion for

Supplemental Notice to Self-Funded Accounts, the deadline for Self-Funded Entity Accounts to

request exclusion (opt out) from the Settlement was amended to May 2, 2022. ECF No. 2897.

       5.      As of June 24, 2022, JND has received 2,152 timely exclusion requests. Of those,

6 timely exclusion requests use the following language:

       [Name] intends to opt out of the Settlement Damages Class, including any individualized
       injunctive relief, to the fullest extent allowed by the terms of the settlement and applicable
       law. [Name] intends to opt out of the Settlement Damages Class only in its capacity as a
       Self-Funded Entity Account, and does not intend to opt-out to the extent [Name] possesses
       any claims to the Settlement Damages Class as an Individual Member, Insured Group, or
       Member, as defined by the Settlement Agreement. Dkt. No. 2610-2.

These 6 exclusion requests are listed as rows 2147-2152 on Exhibit A.

      I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

                                               Executed on June 24, 2022, in Seattle, Washington.



                                               _________________________________________
                                               JENNIFER M. KEOUGH




                                                 2
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                  - EXHIBIT A -
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     In re: Blue Cross Blue Shield Antitrust Litigation (MDL No. 2406)
     USDC Northern District of Alabama, Master File No. 2:13-CV-20000-RDP

     Timely Exclusion Requests - Comprehensive List


                                 Business/Last Name                                First Name               City      State/Country
 1   84.51, LLC HEALTH & WELFARE PLAN                                                           CINCINNATI          OH
 2   AARON                                                                  JULIE               CARMICHAEL          CA
 3   ABDULLAH II                                                            ASAD                SCHENECTADY         NY
 4   ABELL                                                                  TERESA              SEYMOUR             IN
 5   ABIGO                                                                  HELEN               HOUSTON             TX
 6   ABRAHAMS                                                               JAMMIE              SAFFORD             AL
 7   ABRAHAMS                                                               JOHN                UNIONTOWN           AL
 8   ABRAHAMS                                                               WALTER              SAFFORD             AL
 9   ABUSAIDI                                                               MARYAM              MONTEREY            CA
10   ACKERMAN                                                               KERRY               SPEARVILLE          KS
11   ACKERMAN                                                               STEPHEN             SPEARVILLE          KS
12   ACME MARKETS                                                                               BOISE               ID
13   ADAMES PEREZ                                                           CARMEN              CAMUY               PR
14   ADAMS                                                                  AMY                 NORFOLK             VA
15   ADAMS                                                                  DIANE               APPLETON            WI
16   ADAMS                                                                  LINDA               VINITA              OK
17   ADDISON                                                                JAMES               EDINBURGH           UNITED KINGDOM
18   ADKINS                                                                 DANIEL              HUNTINGTON          WV
19   ADKINS                                                                 JUDY                SCOTTSBORO          AL
20   ADMONT                                                                 KASEY               APO                 AP
21   ADVANCEPIERRE FOODS, INC.                                                                  CINCINNATI          OH
22   ADVANI                                                                 SUBHAS              CHICAGO             IL
23   AGUIRRE                                                                AUSTIN              DALLAS              TX
24   AGUIRRE                                                                JAVIER              SAN ANTONIO         TX
25   AHLMAN                                                                 ERIC                GILBERT             AZ
26   AHN                                                                    HYE EUN             LONG BEACH          CA
27   AKINDO                                                                 SANDRINE            HYATTSVILLE         MD
28   ALASKA AIR GROUP, INC.                                                                     SEATAC              WA
29   ALASKA AIR GROUP, INC. WELFARE BENEFIT PLAN                                                SEATAC              WA
30   ALASKA AIRLINES, INC.                                                                      SEATAC              WA
31   ALASKA AIRLINES, INC. WELFARE BENEFIT PLAN                                                 SEATAC              WA
32   ALBERT                                                                 JOEL                TEXARKANA           TX
33   ALBERTSONS                                                                                 BOISE               ID
34   ALBERTSONS COMPANIES INC.                                                                  BOISE               ID
35   ALBERTSONS COMPANIES LLC                                                                   BOISE               ID
36   ALBERTSONS COMPANIES, INC. HEALTH AND WELFARE PLAN (F/K/A                                  BOISE               ID
     ALBERTSON'S LLC HEALTH & WELFARE PLAN AND NEW ALBERTSON'S INC.
     HEALTH AND WELFARE PLAN)
37   ALBERTSONS LLC                                                                             BOISE               ID
38   ALBERTSON'S, INC.                                                                          BOISE               ID
39   ALCORDO                                                                RENITA              SAN FRANCISCO       CA
40   ALFONSI                                                                SCOTT               BELLVILLE           OH
41   ALLEN                                                                  ARLENE              CLARK               NJ
42   ALLEN                                                                  MARCIA              HUTCHINSON          KS
43   ALLEN                                                                  RHONDA              COLUMBIA            TN
44   ALLEN                                                                  SARAH               SILVER SPRING       MD
45   ALLENBAUGH                                                             WILLIAM             ONTARIO             CA
46   ALVARADO HOSPITAL LLC                                                                      SAN DIEGO           CA
47   AMERICAN AIRLINES                                                                          DALLAS FORT WORTH   TX
48   AMERICAN DRUG STORES COMPANY                                                               BOISE               ID
49   AMERICAN ELECTRIC POWER SERVICE CORPORATION AND AMERICAN ELECTRIC                          COLUMBUS            OH
     POWER SYSTEM COMPREHENSIVE MEDICAL PLAN
50   AMERICAN STORES COMPANY                                                                    BOISE               ID
51   AMINI                                                                  MEAGHAN             AUSTIN              TX
52   AMINI                                                                  NEEMA               AUSTIN              TX
53   AMOS                                                                   LINDA               BLUEFIELD           WV
                                Case 2:13-cv-20000-RDP Document 2928 Filed 06/24/22 Page 5 of 37
                              Business/Last Name                                First Name               City     State/Country
 54   AMOS-JACKSON                                                          ERNEST           SANTA CRUZ          CA
 55   ANAND                                                                 NEIL             BENSALEM            PA
 56   ANAND MEDICAL INVESTMENT LLC                                                           BENSALEM            PA
 57   ANDERSEN                                                              MARK             SANTA MARIA         CA
 58   ANDERSON                                                              CLAUDIA          LOGANVILLE          GA
 59   ANDERSON                                                              EDGAR            SACRAMENTO          CA
 60   ANDERSON                                                              FRANCESCA        WOODINVILLE         WA
 61   ANDERSON                                                              GILBERT          HERMITAGE           PA
 62   ANDERSON                                                              JOHN             CANTON              MA
 63   ANDERSON                                                              MARILYN          DULUTH              MN
 64   ANDERSON                                                              RONALD           CORBIN              KY
 65   ANDERSON                                                              ROSEMARIE        CANTON              MA
 66   ANDERSON                                                              SHARON           CORBIN              KY
 67   ANDERSON JR.                                                          GILBERT          AKRON               OH
 68   ANDREWS                                                               DANA             SODUS POINT         NY
 69   ANDRIES                                                               MARIA            DENVER              CO
 70   ANELLO                                                                GABRIEL          CHICAGO             IL
 71   ANGEL                                                                 DAVID            PLACENTIA           CA
 72   ANGEL                                                                 JOSEPH           PLACENTIA           CA
 73   ANKENEY                                                               JOHN             FOREST              VA
 74   ANSALDI                                                               FREDERIC         SIMI VALLEY         CA
 75   ARABIAN                                                               ROBERT           SIMI VALLEY         CA
 76   ARCHER                                                                MARILYN          PENDLETON           OR
 77   ARCHER                                                                ROBERT           PENDLETON           OR
 78   ARGO                                                                  JANICE           UNIVERSITY PL       WA
 79   ARK PHARMACIES INC                                                                     NACOGDOCHES         TX
 80   ARMSTRONG                                                             RONALD           PINSON              AL
 81   ASATO                                                                 CAROLE           YORBA LINDA         CA
 82   ASHCROFT                                                              JAMES            HOMER GLEN          IL
 83   ASHMORE                                                               HAZEL            GLENCOE             AL
 84   ASPING                                                                LARRY            SIDNEY              NY
 85   ATKINS                                                                JOSEPH           ELK GROVE           CA
 86   ATLANTIC HEALTH CARE LLC                                                               BENSALEM            PA
 87   ATWOOD                                                                JUSTIN           GLEN FLORA          WI
 88   ATZIN                                                                 LACY             CHULA VISTA         CA
 89   AUGUSTINE                                                             PATRICIA         MT PLEASANT         PA
 90   AUSTIN                                                                DEBORAH          ENTERPRISE          AL
 91   AUSTIN MACHINE COMPANY                                                                 O FALLON            MO
 92   AUTO CLUB ENTERPRISES                                                                  COSTA MESA          CA
 93   AVENANCIO                                                             ISAILYS          ORLANDO             FL
 94   AYER                                                                  ZACHARY          AUSTIN              TX
 95   AYERS                                                                 RUSSELL          DELTA               CO
 96   AYGAR                                                                 GOKBORU          NILES               IL
 97   BABIN                                                                 MARK             CHALMETTE           LA
 98   BAHAMONDE                                                             JOSE             SURFSIDE            FL
 99   BAILEY                                                                ANN              DALLAS              TX
100   BAILEY                                                                THERESA          NEW YORK            NY
101   BAIN                                                                  MICHELLE         WATERFORD           MI
102   BAKER                                                                 FRED             STREATOR            IL
103   BAKER                                                                 MARY             PHILLIPSBURG        NJ
104   BAKER                                                                 RICHARD          MIDDLETOWN          OH
105   BAKER                                                                 THOMAS           LEWISVILLE          NC
106   BAKER'S                                                                                CINCINNATI          OH
107   BAKERY, CRACKER, PIE, YEAST DRIVERS AND MISCELLANEOUS WORKERS UNION
      LOCAL 734 OF THE INTERNATIONAL BROTHERHOOD OF TEAMSTERS WELFARE
      FUND                                                                                   CHICAGO             IL
108   BALAKRISHNAN                                                          ARUNPRAKASH      SAMMAMISH           WA
109   BALDWIN                                                               BONNIE           MINNEOLA            FL
110   BALDWIN                                                               ERIN             OLYMPIA             WA
111   BALL                                                                  JENNA            NEW LONDON          WI
112   BALLARD                                                               JAMES            LOS ANGELES         CA
113   BANAK                                                                 RAYMOND          ELK GROVE VILLAGE   IL
114   BANAK                                                                 WENDY            ELK GROVE VILLAGE   IL
115   BANKS                                                                 BRITTNEY         UNIONTOWN           AL
116   BANKS                                                                 SANDRA           COLUMBUS            OH
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                                 Business/Last Name                       First Name             City            State/Country
117   BARBARA                                                         LINDA            WINONA                   TX
118   BARBER                                                          JULIE            FOREST CITY              IA
119   BARBIE                                                          CHRISTOPHER      HENRICO                  VA
120   BARESIC                                                         IGOR             COLUMBIA                 MO
121   BARNES                                                          DONALD           GLEN CARBON              IL
122   BARNES                                                          SHARON           GLEN CARBON              IL
123   BARNETT                                                         DALE             DECATUR                  IL
124   BARTELT                                                         ROY              MULBERRY                 FL
125   BARTH                                                           DAVID            FORT PIERCE              FL
126   BARTH                                                           PHILIP           SNYDER                   NY
127   BARTH IV                                                        PHILIP           BUFFALO                  NY
128   BARTNETT                                                        SCOTT            SNEADS FERRY             NC
129   BARTOLAC                                                        AMY-GABRIELLE    IRWIN                    PA
130   BASSETTI                                                        CAROLE           BROOKLYN                 NY
131   BATES                                                           AMY              CROSBY                   TX
132   BATES                                                           ROY              CROSBY                   TX
133   BAUER                                                           CAEDEN           MAGNA                    UT
134   BAUGHMAN                                                        LYNDA            SNYDER                   CO
135   BAUMGARDNER                                                     JAMES            MAUMELLE                 AR
136   BAYLARD                                                         BARBARA          SANTA ROSA               CA
137   BAZZELL                                                         ROBERT           BRIGHTON                 MI
138   BEAM                                                            DEAN             PIERCE                   ID
139   BEAVER                                                          COLETTE          FALLING WATERS           WV
140   BECKER                                                          ANGIE            JANESVILLE               MN
141   BECKERT                                                         FREDERICK        BAYONNE                  NJ
142   BED BATH & BEYOND INC.                                                           UNION                    NJ
143   BEGIERS                                                         PATRICIA         WARSAW                   NY
144   BEGUM                                                           FAREENA          FREMONT                  CA
145   BEHNFELDT                                                       CRAIG            FORT WAYNE               IN
146   BEHNING                                                         KELLY            SUN CITY CENTER          FL
147   BELFI                                                           MARY             BRUNSWICK                OH
148   BELL                                                            KENNETH          WEST PLAINS              MO
149   BELL                                                            SHARON           DUPONT                   WA
150   BELLES                                                          AMANDA           MALDEN                   MA
151   BELTRAN                                                         DANNY            ORLANDO                  FL
152   BERENY                                                          LAURIE           LOS ANGELES              CA
153   BERGADO                                                         MANUEL           SACRAMENTO               CA
154   BERGER                                                          VICKIE           SOUTH BEND               IN
155   BERKERY                                                         EDITH            STATESVILLE              NC
156   BERKOVITZ                                                       JOYCE            PALOS PARK               IL
157   BERNAL                                                          CARLOS           CORONA                   NY
158   BERNSTEIN                                                       SCOT             EL DORADO HILLS          CA
159   BERNTH                                                          ARENDSE          OSSINING                 NY
160   BETTER BILT PRODUCTS INC                                                         ADDISON                  IL
161   BETTHAUSER                                                      LINDA            DERBY                    KS
162   BETTS                                                           DIANA            FROSTPROOF               FL
163   BEVINS                                                          SHEILA           PARIS                    KY
164   BICKERS                                                         BARBARA          NORTHBROOK               IL
165   BIERLIEN COMPANIES, INC.                                                         MIDLAND                  MI
166   BIG LOTS, INC.                                                                   COLUMBUS                 OH
167   BIO-MED SERVICES, INC.                                                           ONTARIO                  CA
168   BIRRELL                                                         SANDRA           BOZEMAN                  MT
169   BIRRELL                                                         STEVEN           BOZEMAN                  MT
170   BIXENMAN                                                        TINA             CROWN POINT              IN
171   BJELLAND                                                        GAYLE            BEMIDJI                  MN
172   BLACKFORD                                                       AUTUMN           SPRINGBORO               OH
173   BLADES                                                          ZHANE            PUYALLUP                 WA
174   BLAKE                                                           NICHOLAS         MOKENA                   IL
175   BLAKELY                                                         LLOYD            COTTAGE GROVE            OR
176   BLANCHETTE                                                      DENISE           SOUTH HADLEY             MA
177   BLANCHETTE                                                      DIANNE           SOUTH HADLEY             MA
178   BLANKENSHIP                                                     JERRY            ASHCAMP                  KY
179   BLASINGHAM                                                      SHELLY           RANCHO SANTA MARGARITA   CA
180   BLEE                                                            SUZANNE          PLATO                    MO
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                            Business/Last Name                            First Name                 City    State/Country
181 BOARD OF PENSIONS OF THE EVANGELICAL LUTHERAN CHURCH IN AMERICA                    MINNEAPOLIS          MN
    D/B/A PORTICO BENEFIT SERVICES
182 BOCCUZZI                                                          DIANE            NORWALK              CT
183 BODDY                                                             RITA             EDMONDS              WA
184 BOGOMAZ                                                           KATHRYN          SAN DIEGO            CA
185 BOGUES                                                            BRITTNEY         CHARLOTTE            NC
186 BOILINI                                                           COLETTE          SEATTLE              WA
187 BOJORQUEZ                                                         SANDY            BEALETON             VA
188 BOLLA                                                             CHRISTOPHER      PITTSBURGH           PA
189 BONIARDI                                                          FEDERICO         MOUNTAIN VIEW        CA
190 BONICATTO                                                         ELIZABETH        FONTANA              CA
191 BOOHER                                                            WILLIAM          SAINT PETERS         MO
192 BOOKER                                                            CLAY             FREDERICKSBURG       TX
193 BOOKER                                                            JANE             FREDERICKSBURG       TX
194 BOONE                                                             JANICE           ARP                  TX
195 BOOS                                                              MICHAEL          RAPID CITY           SD
196 BOOTS                                                             BRENDA           HAZEN                ND
197 BOROWSKY                                                          FRANCES          PHILADELPHIA         PA
198 BORYSZEWSKI                                                       EDWARD           MIDDLEPORT           NY
199 BOSHER                                                            STEPHEN          WEATHERFORD          TX
200 BOSWELL                                                           LINDA            BIRMINGHAM           AL
201 BOTHELIO                                                          TERRI            PARADISE             CA
202 BOULOGNE                                                          NADIA            OKEECHOBEE           FL
203 BOURQUE                                                           AIMEE            BELGRADE             MT
204 BOYCE                                                             ANNA             CHARLOTTE            NC
205 BOYD                                                              NANCY            HAYDEN               ID
206 BRACH                                                             MICHAEL          HURST                TX
207 BRANDT                                                            JASON            BURBANK              CA
208 BREILAND                                                          WILMA            NORTH ANDOVER        MA
209 BRELAND                                                           COLBY            SAINT LOUIS          MO
210 BRELAND                                                           JONATHAN         SAINT LOUIS          MO
211 BRELAND                                                           RACHEL           SAINT LOUIS          MO
212 BRENGARD                                                          JOYCE            WITT                 IL
213 BREST                                                             BARBARA          E FALMOUTH           MA
214 BREY                                                              ERIC             MCCORDSVILLE         IN
215 BRIDGESTONE AMERICAS, INC.                                                         NASHVILLE            TN
216 BRIDGESTONE AMERICAS, INC. EMPLOYEE GROUP INSURANCE PLAN                           NASHVILLE            TN
217 BRIDGESTONE AMERICAS, INC. RETIREE MEDICAL PLAN                                    NASHVILLE            TN
218 BRIGHT                                                            BONNIE           RICEVILLE            TN
219 BRIONES                                                           KATHIANA         INDIAN LAND          SC
220 BRISCOE                                                           CHRISTINE        HOPEWELL JCT         NY
221 BROADFOOT                                                         EDITH            FLORENCE             AL
222 BROCK                                                             LORAL            WAYNESVILLE          OH
223 BROOKS                                                            MARION           AUSTIN               TX
224 BROOKS                                                            TESLA            SAN DIEGO            CA
225 BROUGHTON                                                         RANDALL          CHEYENNE             WY
226 BROWN                                                             ALICIA           MT PLEASANT          TN
227 BROWN                                                             DEREK            SEATTLE              WA
228 BROWN                                                             KIMBERLY         EVERGREEN PARK       IL
229 BROWN                                                             MARCELLA         SAVANNA              IL
230 BROWN                                                             MICHELE          LITTLE FALLS         NY
231 BROWN                                                             WILLIAM          MT PLEASANT          TN
232 BROWNRIGG                                                         RITA             MCCONNELSVILLE       OH
233 BRUDERLY                                                          JUDY             GAINESVILLE          FL
234 BRUNIN                                                            THOMASINA        MAPLE HILL           KS
235 BRYK                                                              CHRISTINE        MOREHEAD CITY        NC
236 BUBIER                                                            DOLORES          MOORE                OK
237 BUCCELLA                                                          FRANCESCO        HUDSON               MA
238 BUCKHOUT                                                          DAVE             CLARKSTON            GA
239 BUCKLEY                                                           PAMELA           WAYNESBORO           PA
240 BUCKS COUNTY PAIN AND PERIOPERATIVE LLC                                            BENSALEM             PA
241 BUDDELL                                                           DOUGLAS          COVINGTON            LA
242 BUGG                                                              HAWLEY           CRESCENT             OK
243 BUJALSKI                                                          DENISE           CAMPTON              NH
244 BULLYAN                                                           RICHARD          CRYSTAL              MN
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                             Business/Last Name                            First Name                City     State/Country
245   BURCHETT                                                         DEBRA            HOUSTON             MO
246   BURKE                                                            KATHARYN         GUNNISON            CO
247   BURLINGTON NORTHERN SANTA FE CORPORATION WELFARE BENEFIT TRUST                    FORT WORTH          TX
248   BURLINGTON NORTHERN SANTA FE GROUP BENEFITS PLAN                                  FORT WORTH          TX
249   BURLINGTON NORTHERN SANTA FE LLC (F/K/A BURLINGTON NORTHERN                       FORT WORTH          TX
      SANTA FE CORP.)
250   BURNES                                                           PATRICIA         SANTA ANA           CA
251   BURNS                                                            MARGARET         OCALA               FL
252   BURTON                                                           JOYCE            SMYRNA              GA
253   BUSBIN                                                           PATRICIA         CHARLOTTE           NC
254   BUSEFINK                                                         LORETTA          SAINT PETERSBURG    FL
255   BUSEFINK                                                         RAYMOND          SAINT PETERSBURG    FL
256   BUSH                                                             ANNE             NEWCOMB             NY
257   BUSH                                                             REBECCA          LAFAYETTE           LA
258   BUSH                                                             ZACHARY          LAFAYETTE           LA
259   BYRD                                                             BRENDA           SANTEE              CA
260   CABRERA                                                          CEDRIC           CAMARILLO           CA
261   CABRERA                                                          RAQUEL           EL PASO             TX
262   CADIENTE                                                         EILEEN           ANAHOLA             HI
263   CAFONE                                                           DENISE           WEST ORANGE         NJ
264   CAGLIERO                                                         LAURA            SEDONA              AZ
265   CALDWELL KUNTZ                                                   JUDITH           MONROE              OH
266   CALLIGEROS                                                       PETER            SAMSON              AL
267   CALLOWAY                                                         KAREN            LOWGAP              NC
268   CALVIN                                                           CHRISTINA        PROVIDENCE          RI
269   CAMPBELL                                                         WILHEMENA        DUNN                NC
270   CANAFAX                                                          EMILY            MOSS BEACH          CA
271   CANFIELD                                                         KRISTIN          MANCELONA           MI
272   CAO                                                              QIAN             JINAN               CHINA
273   CAPELLA HEALTHCARE, INC.                                                          BRENTWOOD           TN
274   CARLSON                                                          GEOFFREY         COAL CITY           IL
275   CARRELL                                                          CARLOS           OLUSTEE             OK
276   CARR-GOTTSTEIN FOODS CO.                                                          BOISE               ID
277   CARRICO                                                          ZACHARY          GREENFLD CTR        NY
278   CARROLL                                                          RANDALL          TICONDEROGA         NY
279   CARSON                                                           COLETTE          CHICAGO             IL
280   CARSON                                                           GAYLANE          CHICAGO             IL
281   CASAREZ                                                          JOEL             DUNCANVILLE         TX
282   CASCINO                                                          MARY             CAYUCOS             CA
283   CASSADAY                                                         KEVIN            LANSING             MI
284   CASSIDY                                                          CYNTHIA          BOYNTON BEACH       FL
285   CAST                                                             LISA             NEW YORK            NY
286   CASTANEDA                                                        NICOLE           LAS VEGAS           NV
287   CASTORENA                                                        YESENIA          AUSTIN              TX
288   CASTRO                                                           JASON            HENDERSON           NV
289   CEHLAR                                                           JACKOLYN         VILLAS              NJ
290   CELLUCCI                                                         GEORGETTE        NEW HYDE PARK       NY
291   CENTRAL AVE PROFESSIONALS, P.C.                                                   NEWARK              NJ
292   CHAN                                                             ANDREW           SAN DIEGO           CA
293   CHAN                                                             REBECCA          SAN FRANCISCO       CA
294   CHANG                                                            JUN              SEOUL               SOUTH KOREA
295   CHANG                                                            WUN              SAN DIEGO           CA
296   CHARKALIS                                                        PARASKEVE        EFFORT              PA
297   CHARRON                                                          ADRIENNE         CARY                NC
298   CHEK                                                             WINGLOK          QUINCY              MA
299   CHENG                                                            JIM              CHICAGO             IL
300   CHENNANKARA                                                      BERTY            MARLBOROUGH         MA
301   CHEN-WU                                                          GERARDO          CHULA VISTA         CA
302   CHICAGO AREA I.B. OF T. WELFARE FUND                                              DOWNERS GROVE       IL
303   CHICAGO PAINTERS AND DECORATORS WELFARE FUND                                      OAK BROOK           IL
304   CHILDERS                                                         DARREL           CORBIN              KY
305   CHILDERS                                                         JANO             CORBIN              KY
306   CHITAYAT                                                         LUCA             LOS ANGELES         CA
307   CHO                                                              IL GYU           TUSCALOOSA          AL
308   CHOU                                                             DAVID            RALEIGH             NC
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                            Business/Last Name                                 First Name                City        State/Country
309 CHRISTIAN BROTHERS SERVICES AND THE CHRISTIAN BROTHERS EMPLOYEE                         ROMEOVILLE          IL
    BENEFIT TRUST
310 CHS/COMMUNITY HEALTH SYSTEMS, INC.                                                      FRANKLIN            TN
311 CHURCH PENSION GROUP SERVICES CORPORATION                                               NEW YORK            NY
312 CITY HOSPITAL ASSOCIATION                                                               EAST LIVERPOOL      OH
313 CITY MARKET                                                                             CINCINNATI          OH
314 CLANCY                                                              PAMELA              LOUISVILLE          KY
315 CLARK                                                               ALEXIS              FARMINGTON HILLS    MI
316 CLARK                                                               CECIL               VALLEY HEAD         AL
317 CLARK                                                               EVA                 MIDDLEBURG          FL
318 CLARK                                                               NONOV               VALLEY HEAD         AL
319 CLAYTON                                                             JACK                SUGAR LAND          TX
320 CLEMONS                                                             PAUL                DALY CITY           CA
321 CLIFFORD                                                            ANNE                EAGLEVILLE          PA
322 CLOTHIER                                                            KATHLEEN            CORINTH             NY
323 CLOUSE                                                              KATHRYN             OLIVIA              MN
324 CNOTA                                                               ELIZABETH           RIVER FOREST        IL
325 COBO                                                                ANN                 AGUILAR             CO
326 COFER                                                               HERBERT             BEAUMONT            CA
327 COGGINS                                                             DENNIS              CULLOWHEE           NC
328 COHEN                                                               PHILIP              HOPKINTON           MA
329 COHEN IMACH                                                         ELEONORA            LOS ANGELES         CA
330 COLBECK                                                             MICHAEL             DECATUR             IL
331 COLBECK                                                             SHARON              DECATUR             IL
332 COLE                                                                SHARON              MIDDLEBURG          FL
333 COLECIO                                                             JOSEPH              ORLANDO             FL
334 COLEMAN                                                             JERE                DENVER              CO
335 COLLOTON                                                            JOHN                CORALVILLE          IA
336 COLON                                                               RITALIZ             BARRANQUITAS        PR
337 COLQUITT                                                            NATASHA             BALA CYNWYD         PA
338 COMBS                                                               DAVID               BOZEMAN             MT
339 COMMUNITY HEALTH SYSTEMS GROUP HEALTH PLAN                                              FRANKLIN            TN
340 CONAGRA BRANDS, INC. AND CONAGRA FOODS, INC. WELFARE BENEFIT WRAP                       CHICAGO             IL
    PLAN
341 CONANT                                                              ALEX                AUSTIN              TX
342 CONCORDIA PLAN SERVICES AND THE CONCORDIA HEALTH PLAN                                   ST. LOUIS           MO
343 CONFORTI                                                            GLORIA              DES PLAINES         IL
344 CONNER                                                              PAUL                SOUTH HILL          VA
345 COOK                                                                BERNADINE           QUINCY              IL
346 COOK                                                                CHARLES             NORFOLK             VA
347 COOLEY                                                              BRUCE               CRAWFORDVILLE       FL
348 COOPER                                                              JEANNETTE           HOMER               NY
349 COOPER                                                              RANDOLPH            HOMER               NY
350 COPPS FOOD CENTER                                                                       CINCINNATI          OH
351 CORCORAN                                                            SARA                WASHINGTON          DC
352 CORE                                                                RIDLEY              NASHVILLE           TN
353 CORE                                                                TERESA              NASHVILLE           TN
354 CORNELL                                                             RUTH                SAN JOSE            CA
355 CORRAL CAMBIASO                                                     FELIPE              W LAFAYETTE         IN
356 COSGROVE                                                            ANGELA              POMPANO BEACH       FL
357 COSGROVE                                                            DONALD              POMPANO BEACH       FL
358 COSKEY                                                              EVELYN              MIDDLETOWN          CT
359 COSTA                                                               JOHN                WOODLAND            CA
360 COSTADINA                                                           GLENN               KNOXVILLE           TN
361 COUTU                                                               DANIEL              SALISBURY           NC
362 COUTU                                                               TONDA               SALISBURY           NC
363 COVARRUBIAS                                                         FELIPE              TURLOCK             CA
364 COVINGTON                                                           CYNTHIA             BALTIMORE           MD
365 COVINGTON                                                           DELGER              CEDAR HILL          TX
366 COVINGTON                                                           JOSH                BESSEMER            AL
367 COX                                                                 EDITH               MONTGOMERY          AL
368 COX                                                                 MARY                TULAROSA            NM
369 COX                                                                 MYRNA               HOLTON              IN
370 COX                                                                 SANDRA              CHESAPEAKE          VA
371 COX                                                                 TROY                CHESAPEAKE          VA
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                                 Business/Last Name                      First Name               City        State/Country
372   COX                                                            TRUDY             MOORE                 SC
373   COX                                                            VESTA             EGG HBR TWP           NJ
374   CRAFTON                                                        JEAN              STERLING HEIGHTS      MI
375   CRAKE                                                          FRANCES           NORWALK               CT
376   CRANDALL                                                       BARBARA           SAN JUAN CAPISTRANO   CA
377   CRANE                                                          EUGENE            MONTGOMERY            AL
378   CRAWFORD                                                       MARYANN           WESTFORD              MA
379   CRAWLEY                                                        IRVIN             NEWPORT NEWS          VA
380   CREAL                                                          OLGA              LINCOLN               NE
381   CREANEY                                                        LORRAINE          ANTIOCH               IL
382   CREATIVE MARKETING ASSOCIATES                                                    KANSAS CITY           MO
383   CREATIVE TELEMARKETING                                                           KANSAS CITY           MO
384   CRIST                                                          MACKENZIE         SAN FRANCISCO         CA
385   CROFFOOT                                                       MATTHEW           TALLADEGA             AL
386   CROOK                                                          ELIZABETH         TYLER                 TX
387   CROPSEY                                                        CONNIE            CASPER                WY
388   CROSS                                                          JEANINE           INDIANAPOLIS          IN
389   CUNNINGHAM                                                     CALEB             DURANGO               CO
390   CURRIE                                                         ESTATE OF JAMES   ANKENY                IA
391   CUTTING                                                        JONATHAN          GRAND RAPIDS          MI
392   CZARSKI                                                        CHARLES           LEXINGTON             KY
393   DALAL                                                          HARSHA            LODI                  NJ
394   DALIRE                                                         LINDA             KANEOHE               HI
395   DALLAS MEDICAL CENTER, LLC                                                       DALLAS                TX
396   DALLAS MEDICAL PHYSICIAN GROUP                                                   MESQUITE              TX
397   DANEY                                                          RICHARD           EXCELSIOR             MN
398   DANNISON                                                       TERRA             LAKELAND              FL
399   DARBY                                                          JESSICA           WOODLAND PARK         CO
400   DARLING INGREDIENTS INC.                                                         IRVING                TX
401   DASHNAW                                                        MICHAEL           FORT EDWARD           NY
402   DAVE                                                           BHAKTIBEN         NORTH CHESTERFIELD    VA
403   DAVIDSON                                                       CINDY             PERHAM                MN
404   DAVIS                                                          CLAUDIA           WATERTOWN             TN
405   DAVIS                                                          TING              COLLIERVILLE          TN
406   DAVIS                                                          WARNER            COLLIERVILLE          TN
407   DAWSON                                                         JAMES             FRANKFORT             IN
408   DAWSON                                                         KELSEY            FRANKFORT             IN
409   DAY                                                            SANDRA            WILMINGTON            MA
410   DAY                                                            STEPHEN           WILMINGTON            MA
411   DE PAUL VENTURES - SAN JOSE ASC, LLC                                             DALY CITY             CA
412   DE PAUL VENTURES - SAN JOSE DIALYSIS, LLC                                        DALY CITY             CA
413   DE PAUL VENTURES, LLC                                                            DALY CITY             CA
414   DE STEFANO                                                     EILEEN            DREXEL HILL           PA
415   DEAN                                                           STEVE             TULSA                 OK
416   DEBLIECK                                                       KATHLEEN          PLANT CITY            FL
417   DECKER                                                         FLORINA           KANSAS CITY           MO
418   DEEM                                                           LESLIE            COVINGTON             IN
419   DEETZ                                                          GERALD            OWATONNA              MN
420   DEHART                                                         AARON             NEW YORK              NY
421   DEHN                                                           ANNE              BUFFALO               NY
422   DEHN                                                           KENNETH           AMHERST               NY
423   DELOMAS                                                        VICTOR            ALLEGAN               MI
424   DEMERS                                                         MARIANNE          BROCKTON              MA
425   DEPENTO                                                        JANICE            PHILADELPHIA          PA
426   DERMANOOGIAN                                                   DEBRA             GOFFSTOWN             NH
427   DES ROCHES                                                     GARY              NORWOOD               MA
428   DESAI                                                          NEHAL             MOUNTAIN VIEW         CA
429   DESERT VALLEY HOSPITAL, INC.                                                     VICTORVILLE           CA
430   DESERT VALLEY MEDICAL GROUP, INC.                                                VICTORVILLE           CA
431   DESPOSATO                                                      SCOTT             VENTURA               CA
432   DETORE                                                         KATHLEEN          RED BLUFF             CA
433   DEVERE                                                         BRENT             AUSTIN                TX
434   DEVILLING                                                      EILEEN            LEECHBURG             PA
435   DIAS                                                           LINDOLFO          GLENOLDEN             PA
436   DIAZ                                                           CONNIE            SPOKANE               WA
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437   DIAZ                                                                  MARIA            LAKE WORTH             FL
438   DICIURCIO                                                             JOHN             KING OF PRUSSIA        PA
439   DICKINSON                                                             CARY             HOFFMAN                IL
440   DICKS                                                                 BARBARA          JACKSONVILLE           FL
441   DICKSON                                                               CAROLYN          CRESCENT               OK
442   DICKSON                                                               LYNDSEY          HOUSTON                TX
443   DILLARD'S, INC.                                                                        LITTLE ROCK            AR
444   DILLON                                                                                 CINCINNATI             OH
445   DILLON COMPANIES, INC.                                                                 CINCINNATI             OH
446   DIN                                                                   FATIMA           SEATTLE                WA
447   DINOVO                                                                CATALINA         CLEARWATER             FL
448   DIRKS                                                                 BRIAN            EMELLE                 AL
449   DISPIGNA                                                              LILLIAN          MARION                 MA
450   DOBMEIER                                                              FRANCIS          BIRD ISLAND            MN
451   DOCK                                                                  MAURICE          INDIANAPOLIS           IN
452   DOLLAR GENERAL CORPORATION                                                             GOODLETTSVLLE          TN
453   DOLLAR GENERAL HEALTH PLAN                                                             GOODLETTSVILLE         TN
454   DOLLOSO                                                               CHARMAIGNE       YONKERS                NY
455   DOMBROSKY                                                             JOSHUA           PORT NECHES            TX
456   DOMINGUES                                                             HEBER            BROOKLINE              MA
457   DOMINICK'S                                                                             BOISE                  ID
458   DOMINICK'S FINER FOODS, LLC                                                            BOISE                  ID
459   DONAHUE                                                               KATLIN           CANTON                 NC
460   DONALD                                                                MICHELE          BOONTON TOWNSHIP       NJ
461   DORRELL                                                               JANET            LEES SUMMIT            MO
462   DORRELL                                                               LARRY            LEES SUMMIT            MO
463   DOSEMAGEN                                                             ANGELA           MYRTLE BEACH           SC
464   DOUGHERTY                                                             DOROTHY          DUNDALK                MD
465   DOUGHERTY                                                             PATRICK          DUNDALK                MD
466   DREIER                                                                MARK             SACRAMENTO             CA
467   DRYDEN                                                                WILLARD          KLAMATH FALLS          OR
468   DU                                                                    XUE              NEW BOSTON             TX
469   DUCKETT                                                               MICHAEL          RICHARDSON             TX
470   DUDEK                                                                 MICHAEL          COLUMBIA CROSS ROADS   PA
471   DUGGER                                                                NANCY            SAN ANTONIO            TX
472   DUGGER                                                                RICHARD          SAN ANTONIO            TX
473   DUKE                                                                  JAIMEE           BOISE                  ID
474   DUKE                                                                  TIFFANY          LAFAYETTE              LA
475   DUKES                                                                 DEREK            LAKE CITY              FL
476   DUNBAR                                                                NANCY            SAINT JOSEPH           MI
477   DUNCAN                                                                JACKSON          PICKENS                SC
478   DUNCAN                                                                MARY             PICKENS                SC
479   DUNN                                                                  BENJAMIN         SAN ANTONIO            TX
480   DURICEK                                                               THERESA          FLORISSANT             MO
481   DUTSCHKE                                                              DEBORAH          PALMER                 TX
482   DYE                                                                   MARIANNE         HOUSTON                TX
483   EAGAN                                                                 GLORIA           LISLE                  IL
484   EAKER                                                                 JENNIFER         SHERRILL               NY
485   EAKER                                                                 SYLVIA           FLORENCE               AL
486   EAST VALLEY GLENDORA HOSPITAL, LLC                                                     GLENDORA               CA
487   EBEL                                                                  KAREN            CRESTON                WA
488   EBEL                                                                  ORDEAN           CRESTON                WA
489   ECK                                                                   JONATHAN         LYME                   NH
490   EDWARDS                                                               AUBREY           HOBBS                  NM
491   EDWARDS                                                               JUNE             SAINT LOUIS            MO
492   EDWARDS                                                               MARGARET         HOBBS                  NM
493   EFE                                                                   AYSE             SAN DIEGO              CA
494   EFE                                                                   SINASI           SAN DIEGO              CA
495   EICHELBERGER                                                          ADAM             NOBLESVILLE            IN
496   ELDER                                                                 GEORGE           MIDVILLE               GA
497   ELDERS                                                                REBECCA          WARD                   SC
498   ELLISON                                                               GEOFFREY         CULLMAN                AL
499   ELLISON                                                               JANE             CULLMAN                AL
500   ELSTON                                                                ANTRYNET         PETERSBURG             VA
501   EMPLOYEE BENEFIT PLAN FOR EMPLOYEES OF HORIZON AIR INDUSTRIES, INC.                    SEATAC                 WA
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                            Business/Last Name                             First Name              City    State/Country
502 EMPLOYEE BENEFIT PLAN FOR FULL-TIME AND PART-TIME EMPLOYEES                         SEATAC            WA
    HORIZON AIR INDUSTRIES, INC.
503 ENAN                                                               SADMAN           FALCON HEIGHTS    MN
504 ENNS                                                               JAYNE            CHICO             CA
505 ENSOR                                                              MICHAEL          CHATTANOOGA       TN
506 ERICKSON                                                           MARK             SUMNER            WA
507 ERICKSON                                                           SHARON           SUMNER            WA
508 ERKEL                                                              ALBERT           GRANITE BAY       CA
509 ERKEL                                                              DONNA            GRANITE BAY       CA
510 ESHELMAN                                                           GARY             BOONE             IA
511 ESPINOZA                                                           DANIEL           HANFORD           CA
512 ESTRADA                                                            HARRIETTE        MANTECA           CA
513 ETHIER                                                             GLEN             PORT TOWNSEND     WA
514 ETZLER                                                             HILBERT          VICTORIA          TX
515 EVANS                                                              GAYLA            BLOOMFIELD        MO
516 EVANS                                                              REGINA           ROME              GA
517 EVERGREEN HOME HEALTH, INC.                                                         CERRITOS          CA
518 EVINGER                                                            KATHERINE        PENFIELD          NY
519 EXTREME VALUE                                                                       BOISE             ID
520 EXTREME VALUE CENTERS                                                               BOISE             ID
521 EYRE                                                               LEHTIE           OMAHA             NE
522 EZE                                                                OLISAEMEKA       ROHNERT PARK      CA
523 FABER                                                              THERESA          LAGUNA NIGUEL     CA
524 FACHTING                                                           ARLINE           SAGINAW           MI
525 FADER                                                              CLARA            ROGUE RIVER       OR
526 FAHLSTROM                                                          DEBRA            CONCORDIA         KS
527 FAMILIARE                                                          CHRISTOPHE       STANWOOD          WA
528 FARGNOLI                                                           JESSICA          PARAMUS           NJ
529 FARLANE                                                            VICKY            LANGLEY           WA
530 FARMER                                                             CYNTHIA          HOLLY SPRINGS     NC
531 FAROHIDEH                                                          BABAK            MIAMI             FL
532 FARRER                                                             JANICE           MESQUITE          NV
533 FARSTER                                                            JUDITH           DIXON             IL
534 FAVORITI                                                           DIANE            RAHWAY            NJ
535 FEBIGER                                                            MARIAN           N DARTMOUTH       MA
536 FEDERAL EXPRESS CORPORATION                                                         MEMPHIS           TN
537 FEDERAL EXPRESS CORPORATION GROUP HEALTH PLAN                                       MEMPHIS           TN
538 FEDERAL EXPRESS CORPORATION GROUP HEALTH PLAN FOR PILOTS                            MEMPHIS           TN
539 FEDERAL EXPRESS CORPORATION GROUP RETIREE HEALTH PLAN FOR PILOTS                    MEMPHIS           TN
540 FEDEX CORPORATION                                                                   MEMPHIS           TN
541 FEDEX CORPORATION GROUP HEALTH PLAN                                                 MEMPHIS           TN
542 FEDEX CORPORATION RETIREE GROUP HEALTH PLAN                                         MEMPHIS           TN
543 FEDEX FREIGHT, INC.                                                                 MEMPHIS           TN
544 FEDEX GROUP HEALTH PLAN                                                             MEMPHIS           TN
545 FEHLNER                                                            ROSEMARY         PITTSBURGH        PA
546 FENWICK                                                            TAHNA            ALBANY            OR
547 FERRARI                                                            KENNETH          GOLD RIVER        CA
548 FIELDS                                                             DIANA            CHESTER           VA
549 FIELDS                                                             ELIZABETH        CHESTER           VA
550 FIELDWOOD ENERGY LLC                                                                HOUSTON           TX
551 FIGUEIRED                                                          JULIANA          LOS ANGELES       CA
552 FILAS                                                              TAMARA           CANTON            MI
553 FINK                                                               RONDA            HETTINGER         ND
554 FINK                                                               TODD             HETTINGER         ND
555 FITZPATRICK                                                        ANNE             ELMIRA            NY
556 FLAIR                                                              GEORGE           BEAVER            PA
557 FLATTER                                                            RALPH            CINCINNATI        OH
558 FLESHMAN                                                           HAZEL            ALDERSON          WV
559 FLIEGE                                                             SUZANNE          YPSILANTI         MI
560 FLINT                                                              CAROLYN          QUINCY            MI
561 FLORA                                                              DONALD           LAWRENCE          KS
562 FLOYD                                                              MARY             THE VILLAGES      FL
563 FLOYD                                                              MAURICE          THE VILLAGES      FL
564 FMJ, INC.                                                                           CINCINNATI        OH
565 FOLLMER                                                            MICHAEL          MIDDLETOWN        OH
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                                Business/Last Name                       First Name             City      State/Country
566   FOLLMER                                                        PAMELA           MIDDLETOWN         OH
567   FONTENOT                                                       ROSE             CHURCH POINT       LA
568   FOOD 4 LESS                                                                     CINCINNATI         OH
569   FOOD 4 LESS HOLDINGS, INC.                                                      CINCINNATI         OH
570   FORD MOTOR COMPANY                                                              DEARBORN           MI
571   FORMANEK                                                       CHARLES          TRENTON            NJ
572   FORTIER                                                        MARIE            LAS VEGAS          NV
573   FORTUNA                                                        NICOLE           NORTHBROOK         IL
574   FOSSE                                                          SHAROL           MONTGOMERY         AL
575   FOSTER                                                         CLYDIS           MADISON            AL
576   FOSTER                                                         LEISA            MOSES LAKE         WA
577   FRALEY                                                         JO               GORMAN             TX
578   FRANA                                                          DARLENE          CASA GRANDE        AZ
579   FRANCO                                                         REEKIE           OCEANSIDE          CA
580   FRAZIER                                                        KAY              MADISON            WI
581   FRED MEYER                                                                      CINCINNATI         OH
582   FRED MEYER JEWELERS, INC.                                                       CINCINNATI         OH
583   FRED MEYER STORES, INC.                                                         CINCINNATI         OH
584   FRED MEYER, INC.                                                                CINCINNATI         OH
585   FREITAS                                                        FELICIA          SANTA CLARA        CA
586   FREUDBERG                                                      AUDREY           LOS ANGELES        CA
587   FREY                                                           FLORENCE         SAN FRANCISCO      CA
588   FRIEDMAN                                                       JULIA            MENOMONEE FALLS    WI
589   FRIESZ                                                         TRACY            WEST RICHLAND      WA
590   FROLUND                                                        MICHELE          BROOKLYN           NY
591   FRONTINO                                                       VINCENT          LITTLETON          CO
592   FRY'S                                                                           CINCINNATI         OH
593   FUERTES                                                        RAQUEL           SEBASTOPOL         CA
594   FULLER                                                         CAROL            MARIETTA           GA
595   FULLER                                                         WILLIAM          NORTH CHARLESTON   SC
596   FULMORE                                                        GARY             GOLDSBORO          NC
597   FUOCO                                                          JEAN             DEARBORN           MI
598   G4S SECURE SOLUTIONS (USA), INC.                                                JUPITER            FL
599   GALEK                                                          MARILYN          WETHERSFIELD       CT
600   GALLEGOS                                                       DEBORAH          WOODBRIDGE         VA
601   GALLOWAY                                                       ALBERT           NEWTOWN            PA
602   GALLOWAY                                                       MAGGIE           ODENVILLE          AL
603   GANZ                                                           FRED             EVERGREEN PARK     IL
604   GARBUS                                                         KERRI            WINCHESTER         MA
605   GARBUS                                                         MICHAEL          WINCHESTER         MA
606   GARBUTT                                                        CASSANDRA        SAN DIEGO          CA
607   GARCIA                                                         GEORGE           BUENA PARK         CA
608   GARCIA                                                         NADIA            WALLA WALLA        WA
609   GARDNER                                                        IRETA            ST GEORGE          UT
610   GARDNER                                                        TERESA           SHAWNEE            OK
611   GARNIER                                                        AUDREY           TRENTON            NJ
612   GARRISON                                                       GRAHAM           BROOKINGS          OR
613   GARRISON                                                       ROSEMARY         BROOKINGS          OR
614   GARZA                                                          JESSICA          CANTON             OH
615   GARZA                                                          MARGARET         SAN ANTONIO        TX
616   GATES                                                          MARVIN           MADISON HTS        MI
617   GAUSI                                                          TEAWAN           CHARLOTTE          NC
618   GAY                                                            MARY             CHASKA             MN
619   GAYNOR                                                         COLLEEN          HUNTLEY            IL
620   GAZAILLE                                                       MARY             VINEYARD HAVEN     MA
621   GEHRING                                                        STEVEN           MCPHERSON          KS
622   GEHRLING                                                       PAUL             SEAFORD            NY
623   GEISERT                                                        CATHERINE        EL PASO            TX
624   GEISERT                                                        SCOTT            EL PASO            TX
625   GELER                                                          CASSI            LARGO              FL
626   GENERAL MOTORS COMPANY                                                          DETROIT            MI
627   GENERAL MOTORS LLC                                                              DETROIT            MI
628   GENTLES                                                        KEVIN            TICONDEROGA        NY
629   GENUARDI'                                                                       BOISE              ID
630   GENUARDI'S FAMILY MARKETS LP                                                    BOISE              ID
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631   GEORGE                                                     DINETTE          SPRINGFIELD            IL
632   GEORGE                                                     RENALD           AURORA                 IL
633   GEORGEOU                                                   NICKY            MINEOLA                NY
634   GERBES                                                                      CINCINNATI             OH
635   GIANNELLI                                                  DAVID            EDISON                 NJ
636   GIBBONS                                                    EDDIE            MOUNTAIN PARK          OK
637   GIBBS                                                      ERICK            PORT ORANGE            FL
638   GIBBS-JOHNSON                                              ASHLEY           BELLE RIVE             IL
639   GIBLER                                                     DOROTHY          BASIN                  WY
640   GIBLER                                                     JOHN             BASIN                  WY
641   GIBLER                                                     KAREN            PEACHTREE CITY         GA
642   GIBSON                                                     DONALD           ROSEVILLE              CA
643   GIBSON                                                     MARJORIE         PITTSBURGH             PA
644   GIELOW                                                     SHERRI           BOZEMAN                MT
645   GIESEKE                                                    DANIEL           DEER PARK              TX
646   GIH-LUEKER                                                 FRANCES          IRVINE                 CA
647   GILBERT                                                    MELINDA          TRINIDAD               TX
648   GILBERT                                                    MOLLY            MESA                   AZ
649   GILLEN                                                     DANIEL           TOMS RIVER             NJ
650   GILLEN                                                     LORRAINE         TOMS RIVER             NJ
651   GILLEY                                                     LINDA            DORTON                 KY
652   GINDI-FOX                                                  TREFINA          MELROSE                MA
653   GINOZA                                                     HAZEL            AIEA                   HI
654   GINOZA                                                     HENRY            AIEA                   HI
655   GINOZA                                                     KURT             AIEA                   HI
656   GIROLAMO                                                   ERIN             WHITESBORO             TX
657   GLOBAL TUNGSTEN & POWDERS                                                   TOWANDA                PA
658   GOBEN                                                      FRED             AURORA                 IL
659   GOBLET                                                     VALENTINE        IRVINE                 CA
660   GOLDEN                                                     MARY             CHEYENNE               WY
661   GOLDSWORTHY                                                DENNIS           LAPEER                 MI
662   GOLDSWORTHY                                                PATRICIA         LAPEER                 MI
663   GOMBAR                                                     RICHARD          WHITE RIVER JUNCTION   VT
664   GOMEZ                                                      ROLANDO          BELLFLOWER             CA
665   GOMEZ                                                      SANTIAGO         SUNNYVALE              CA
666   GONDER                                                     JULIE            GREEN RIVER            WY
667   GONET                                                      RYAN             CLEARWATER             FL
668   GONRING                                                    NORENE           LOMIRA                 WI
669   GONZALES                                                   MARIA            HOUSTON                TX
670   GONZALEZ                                                   FERNANDO         WASHINGTON             DC
671   GONZALEZ                                                   IMMANUEL         SALINAS                CA
672   GONZALEZ                                                   MARIA            HOUSTON                TX
673   GOODSIGHT                                                  MARK             GATLINBURG             TN
674   GOODSON                                                    DENA             PARIS                  TX
675   GOOLSBY                                                    ROBIN            LAKE HAVASU CITY       AZ
676   GORE                                                       MARIE            BEAVERTON              OR
677   GORMAN                                                     SUSAN            ALBUQUERQUE            NM
678   GORZANSKI                                                  LUDWIK           LINDENHURST            NY
679   GOSHORN                                                    ALICIA           MOUNTAIN GRV           MO
680   GRACE                                                      GRETCHEN         PEARLAND               TX
681   GRAEFE                                                     JONATHAN         ANNAPOLIS              MD
682   GRANGER                                                    JOHN             ENTERPRISE             AL
683   GRANGER                                                    KATHRYN          ENTERPRISE             AL
684   GRAPES                                                     JOSEPH           LANCASTER              PA
685   GRAPES                                                     KARLA            LANCASTER              PA
686   GRAVES                                                     ANDREA           BROOKLYN               NY
687   GRAVES                                                     JEFFEREY         MILFORD                NE
688   GRAVINS                                                    JEANNE           MIDLOTHIAN             VA
689   GRAVITT                                                    ANNA             WHEELWRIGHT            KY
690   GRAY                                                       DONNA            ORLANDO                FL
691   GREATHOUSE                                                 ERICA            PFLUGERFILLE           TX
692   GREATHOUSE                                                 JARED            PFLUGERFILLE           TX
693   GREEN                                                      BOBBY            JOHNSON CITY           TN
694   GREEN                                                      CALVIN           GURLEY                 AL
695   GREEN                                                      JESSICA          GURLEY                 AL
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                              Business/Last Name                              First Name               City    State/Country
696   GREEN                                                               KEA              GERMANTOWN         OH
697   GREEN                                                               THOMAS           SYLACAUGA          AL
698   GREGORY                                                             JOHN             ST. LOUIS          MO
699   GREIDER                                                             JAMES            STREATOR           IL
700   GREIG                                                               JENNIFER         TUCSON             AZ
701   GREMIGNI                                                            CHRISTINA        MONROVIA           CA
702   GRENIER                                                             TAMARA           NANTUCKET          MA
703   GREVE                                                               BARBARA          WORTHINGTON        MN
704   GREVE                                                               HENRY            WORTHINGTON        MN
705   GRIFFIN                                                             DARIN            LONGWOOD           FL
706   GRIFFITH                                                            JAMIE            ALLEN              TX
707   GRIFFITH                                                            PAUL             ALLEN              TX
708   GRIPP                                                               AYLENE           SANTA BARBARA      CA
709   GRIPP                                                               PARRY            SANTA BARBARA      CA
710   GRISHAM                                                             BRAD             LITTLEFIELD        TX
711   GROBBEL                                                             JILL             LAPEER             MI
712   GROBBEL                                                             WILLIAM          LAPEER             MI
713   GROCHOWSKI                                                          JOYCE            PALOS HEIGHTS      IL
714   GRODILES                                                            SALVADOR         BATON ROUGE        LA
715   GROSS                                                               IRENE            GASTONIA           NC
716   GRUNWALD                                                            ERIC             WAUSAU             WI
717   GUIDESTONE FINANCIAL RESOURCES OF THE SOUTHERN BAPTIST CONVENTION                    DALLAS             TX
718   GUSTAVSON                                                           LYNNE            WILLIAMS BAY       WI
719   GUTIERREZ                                                           JOHN             ANGELS CAMP        CA
720   GUTIERREZ                                                           RICHARD          RIVERBANK          CA
721   HACKER                                                              KYLE             INDEPENDENCE       KY
722   HADSELL                                                             RANDY            PEORIA             IL
723   HAGEN                                                               DEBRA            PUYALLUP           WA
724   HAHN                                                                DONNA            FREDERICK          MD
725   HAHNER                                                              EVELYN           MILFORD            CT
726   HAJI                                                                MWAFAQ           NORTHPORT          AL
727   HALDEMAN                                                            DANIEL           ELIZABETHTOWN      PA
728   HALL                                                                BETTY            YPSILANTI          MI
729   HALL                                                                DAVID            CLOVERDALE         IN
730   HALL                                                                NICHOLAS         APPLE VALLEY       MN
731   HALL                                                                SONDRA           TOPEKA             KS
732   HALLIBURTON ENERGY SERVICES, INC.                                                    HOUSTON            TX
733   HALLIWELL                                                           GEOFFREY         DOYLESTOWN         PA
734   HALLIWELL                                                           KAILEY           DOYLESTOWN         PA
735   HALLIWELL                                                           KELSI            DOYLESTOWN         PA
736   HAMAKER                                                             DONNA            HOT SPRINGS        AR
737   HAMAKER                                                             KEITH            HOT SPRINGS        AR
738   HAMEL                                                               RITA             TROY               MT
739   HAMILTON                                                            CHRISTINE        CHAPEL HILL        NC
740   HAMILTON                                                            DEBORAH          FUNKSTOWN          MD
741   HAMILTON                                                            DOUGLAS          CARLSBAD           CA
742   HAMPTON                                                             LAQWANZA         SAN DIEGO          CA
743   HAMPTON                                                             SHERRI           HARRIMAN           TN
744   HANCOCK                                                             KAY              ANAHEIM            CA
745   HANDVILLE                                                           JUSTIN           LARGO              FL
746   HANDY                                                               BERLYNE          WASHINGTON         DC
747   HANKS                                                               JOHN             PLAQUEMINE         LA
748   HANKS                                                               NANCY            SARASOTA           FL
749   HANNER                                                              TERRY            RODEO              NM
750   HANSEN                                                              BARBARA          NORTH PLATTE       NE
751   HANSEN                                                              DIANE            EAGAN              MN
752   HANSEN                                                              TERRIS           ERIE               CO
753   HARDER                                                              KIM              OLALLA             WA
754   HARDMAN                                                             KRYSTYN          EL DORADO HILLS    CA
755   HARDWAY JR                                                          EARL             VERMILION          OH
756   HARLINGEN MEDICAL CENTER, LIMITED PARTNERSHIP                                        HARLINGEN          TX
757   HARMON                                                              REBECCA          WICHITA            KS
758   HARMS                                                               RITA             WILMER             AL
759   HARPER                                                              ANDRE            NEW YORK           NY
760   HARRIS                                                              VERNA            HOUSTON            TX
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761   HARRIS TEETER                                                                CINCINNATI        OH
762   HARRIS TEETER, INC.                                                          CINCINNATI        OH
763   HARRIS TEETER, LLC                                                           CINCINNATI        OH
764   HARRISON                                                    JAMES            EDMOND            OK
765   HARRISON                                                    MARY             EDMOND            OK
766   HARTL                                                       JEFFREY          VANCOUVER         WA
767   HARVEY                                                      DENISE           SOUTH LYON        MI
768   HASEGAWA                                                    CAROL            CONCORD           CA
769   HASIM                                                       KUDEZA           WOODLAND PARK     NJ
770   HASKINS                                                     MARY             ROCKLAND          MA
771   HASKINS                                                     RICHARD          ROCKLAND          MA
772   HASSEL                                                      ABIGAIL          RIVERBANK         CA
773   HASTINGS                                                    JACQUELINE       WOODLAND HILLS    CA
774   HATCHER                                                     JANET            BURTON            OH
775   HAUCK                                                       NANCY            FAIRPLAY          MD
776   HAUSER                                                      KEN              CONIFER           CO
777   HAVENS                                                      KARLY            HANNA CITY        IL
778   HAWKINS                                                     MELANIE          ALBUQUERQUE       NM
779   HAYES                                                       LOUISE           ALVIN             TX
780   HAYWARD                                                     KAY              NORTH BRANCH      MI
781   HEALTHY OPTIONS, INC.                                                        CINCINNATI        OH
782   HEARTLAND HEALTH & WELLNESS FUND                                             DAYTON            OH
783   HEATH                                                       AMY              CARY              NC
784   HEDGES                                                      JODI             KUNA              ID
785   HEGGE                                                       JOSEPH           ANDERSON          CA
786   HEIKES                                                      JENNIFER         MIFFLIN           PA
787   HELMER                                                      KATHRYN          RICHLAND          MI
788   HEMSEY JUDGE, PC                                                             SALEM             MA
789   HENDRICKS                                                   SHERILYN         KEARNEY           NE
790   HENLEY                                                      KYLE             BOISE             ID
791   HENRY                                                       KATHLEEN         ALTON             IL
792   HENRY                                                       SUSAN            WARREN            OH
793   HERMANSON                                                   JULIE            PULLMAN           WA
794   HERNANDEZ                                                   BRYAN            MONROVIA          CA
795   HERNANDEZ                                                   MIRIAM           BURBANK           CA
796   HERRING                                                     AVERY            VONORE            TN
797   HESS                                                        LOUISE           SHOREVIEW         MN
798   HESSE                                                       JASON            SOUTHBURY         CT
799   HESSELBEIN                                                  RONALD           JACKSON           MS
800   HEWETT                                                      PAULINE          JACKSONVILLE      FL
801   HEYDE                                                       HENRI            SAN DIEGO         CA
802   HICKS                                                       KIEFER           CAMBRIDGE         MA
803   HICKS                                                       TERRY            CENTREVILLE       VA
804   HIGGINBOTHAM                                                STEVEN           PLEASANT GROVE    AL
805   HIGHFILL                                                    GREG             LAS VEGAS         NV
806   HIJAZI                                                      AHMAD            VALRICO           FL
807   HILGART                                                     FRED             CHICAGO           IL
808   HILGENFELD                                                  KYLE             STELLA            NE
809   HILGERT                                                     KATRINKA         LINCOLN           NE
810   HILL                                                        BETTY JO         MILLBROOK         AL
811   HILL                                                        KAREN            HUMBOLDT          TN
812   HILL                                                        KAREN            CUMMING           GA
813   HILL                                                        MARY             JESUP             GA
814   HILLSIDE FAMILY MEDICINE, LLC                                                ANCHORAGE         AK
815   HINES                                                       KENNETH          BEREA             OH
816   HINES                                                       LOIS             BEREA             OH
817   HISHINUMA                                                   SANDRA           HONOLULU          HI
818   HISHINUMA                                                   TRAVIS           HONOLULU          HI
819   HOELL                                                       FRANCIS          DUNBARTON         NH
820   HOFFMAN                                                     RAYMOND          NORTH ARLINGTON   NJ
821   HOFFMANN                                                    GILLES           CHICAGO           IL
822   HOKE                                                        ELIZABETH        BIRMINGHAM        AL
823   HOKE                                                        FELIX            BIRMINGHAM        AL
824   HOLCOMB                                                     CAROLYN          CENTERTON         AR
825   HOLDSWORTH                                                  CATHY            SHAWNEE MSN       KS
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826   HOLLIDAY                                                       ANASTASIA        EDINBURG           TX
827   HOLMES III                                                     WILLIAM          WACO               TX
828   HOLSAPPLE                                                      NAOMI            LOUISVILLE         KY
829   HOLYOAKE                                                       NANCY            SAN CLEMENTE       CA
830   HOLZMAN                                                        JAC              SANTA MONICA       CA
831   HOME DEPOT U.S.A., INC.                                                         ATLANTA            GA
832   HONEYCUTT                                                      BRENDA           HOLLYWOOD          FL
833   HOOPER                                                         JESSICA          HANCEVILLE         AL
834   HOOPLE                                                         JOANNE           ASHLAND            KY
835   HOOVER                                                         DANIEL           LAS VEGAS          NV
836   HOOVER                                                         JOHN             MIAMI              FL
837   HORIZON AIR INDUSTRIES, INC.                                                    SEATAC             WA
838   HORIZON AIR INDUSTRIES, INC. WELFARE BENEFIT PLAN                               SEATAC             WA
839   HORN                                                           JOHN             MYRTLE BEACH       SC
840   HORN                                                           LAWRENCE         MORTON GROVE       IL
841   HORN                                                           MARY             MORTON GROVE       IL
842   HORTON                                                         JACQUELINE       CHARLESTON         SC
843   HORVATH                                                        SANDRA           NORTH FORT MYERS   FL
844   HOSPITAL BUSINESS SERVICES, LLC                                                 ONTARIO            CA
845   HOUSE                                                          JOSHUA           JACKSONVILLE       FL
846   HOUSE                                                          WINFORD          JACKSONVILLE       FL
847   HOUSTON                                                        RODERICK         ANNAPOLIS          MD
848   HOVATTER                                                       MARGARET         WINCHESTER         VA
849   HOVATTER                                                       ONA              WINCHESTER         VA
850   HOWIE                                                          DOUGLAS          PENSACOLA          FL
851   HRISTOV                                                        HRISTO           GIBSONIA           PA
852   HRISTOVA                                                       SHTILIYANA       GIBSONIA           PA
853   HUANG                                                          EMILY            WINSTON SALEM      NC
854   HUANG                                                          SHIYANG          TOPEKA             KS
855   HUBBELL                                                        KATHLEEN         SEATTLE            WA
856   HUBBELL                                                        PHILIP           SEATTLE            WA
857   HUBER                                                          PEGGY            GREAT FALLS        MT
858   HUGHES                                                         PATRICK          LAUREL             MD
859   HUI                                                            DALE             BELMONT            CA
860   HUNDERTMARK                                                    WALTER           SCOTT CITY         KS
861   HUNTOON                                                        IRENE            TAKOMA PARK        MD
862   HUSAR                                                          CARMEN           ROGERS             MN
863   HUSAR                                                          LUCIAN           ROGERS             MN
864   HUTCHINSON                                                     ANN              VANCOUVER          WA
865   HUTTO                                                          CASSIDY          SAINT PETERSBURG   FL
866   HY                                                             CHHORLY          FORT SMITH         AR
867   HYDE                                                           JEFFREY          DECATUR            TN
868   HY-VEE INC.                                                                     WEST DES MOINES    IA
869   IKEDA                                                          LURLINE          GARDENA            CA
870   INDIANA/KENTUCKY/OHIO REGIONAL COUNCIL OF CARPENTERS WELFARE                    TROY               MI
      FUND
871   INGLESBY                                                       EDWARD           SAINT PETERSBURG   FL
872   INHERITAGE, INC.                                                                CLARKSTON          GA
873   INMAN                                                          CASEY            MANLIUS            NY
874   INSTITUTE OF ADVANCED MEDICINE AND SURGERY LLC                                  BENSALEM           PA
875   IOFFE                                                          VIKTORIYA        ROCKLIN            CA
876   IRIZARRY ECHEVARRIA                                            ULYSSES          CARROLLTON         TX
877   IRVINE                                                         MARY             NORTHAMPTON        MA
878   IRWIN                                                          ALLEN            NAPLES             FL
879   ISOM                                                           CYNANNBRAH       HILLSBORO          TN
880   JABLONSKI                                                      MONICA           FARMINGTON HILLS   MI
881   JABLONSKI                                                      NATALIA          FARMINGTON HILLS   MI
882   JABLONSKI                                                      PAMELA           FARMINGTON HILLS   MI
883   JACKSON                                                        BETTY            ENID               OK
884   JACKSON                                                        JAMES            ENID               OK
885   JACKSON                                                        MARION           BASTROP            TX
886   JAMIL                                                          SAIRA            HALETHORPE         MD
887   JANES                                                          WEILAND          BARDSTOWN          KY
888   JAQUES                                                         CALLIE           LOS ANGELES        CA
889   JAY C FOOD STORES                                                               CINCINNATI         OH
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890   JAYNE                                                       DAVID            KIRKSVILLE         MO
891   JEFFRIES                                                    JERRY            CHECOTAH           OK
892   JEFFRIES JR                                                 JERRY            CHECOTAH           OK
893   JELINEK                                                     DONALD           ELKHORN            NE
894   JELINEK                                                     SHARON           ELKHORN            NE
895   JEMO                                                        ELIZABETH        RALEIGH            NC
896   JENKINS                                                     BOBBETTE         QUINCY             IL
897   JENKINS                                                     MARY             SOUTHGATE          MI
898   JENKINS                                                     RANDALL          QUINCY             IL
899   JERRY WALTERS CONSTRUCTION, INC.                                             BROOKSVILLE        FL
900   JERSEYMAILD MILK PRODUCTS                                                    BOISE              ID
901   JETBLUE AIRWAYS CORPORATION                                                  LONG ISLAND CITY   NY
902   JEVIT                                                       AUDREY           EAST STROUDSBURG   PA
903   JEWEL FOOD STORES                                                            BOISE              ID
904   JEWEL FOODS                                                                  BOISE              ID
905   JEWEL FOODS, INC.                                                            BOISE              ID
906   JIMENEZ                                                     JOSE             EL PASO            TX
907   JIMENEZ JR                                                  JOSE             EL PASO            TX
908   JOHNSON                                                     BRITTANY         NASHVILLE          TN
909   JOHNSON                                                     CHRISTOPHER      BELLE RIVE         IL
910   JOHNSON                                                     DONNA            CUMMAQUID          MA
911   JOHNSON                                                     JEREMY           LIBERTY            KY
912   JOHNSON                                                     KATHY            FORREST            IL
913   JOHNSON                                                     LYNNE            BROCKTON           MA
914   JOHNSON                                                     NANCY            INDIANAPOLIS       IN
915   JOHNSON                                                     PAMELA           RUTLAND            VT
916   JOHNSTON                                                    DARYL            VALLES MINES       MO
917   JONES                                                       ANNABELL         SLIDELL            LA
918   JONES                                                       BARBARA          GAINESVILLE        FL
919   JONES                                                       IMAN             JACKSONVILLE       FL
920   JONES                                                       LINDA            JACKSONVILLE       FL
921   JOO                                                         ANDY             RICHARDSON         TX
922   JOO                                                         BO               LOS ANGELES        CA
923   JORDAN                                                      SHERRY           ONTARIO            CA
924   JUBINVILLE                                                  DAVID            SOUTH HADLEY       MA
925   JUDGE                                                       STEPHEN          TOPSFIELD          MA
926   JUNE                                                        MARCIA           DAVISON            MI
927   JUNE                                                        MICHAEL          DAVISON            MI
928   JUNIOR FOOD STORES OF WEST FLORIDA, INC.                                     CINCINNATI         OH
929   JURY                                                        MARIGAIL         LOVELAND           CO
930   KABYSH                                                      VIKTOR           WESTFIELD          MA
931   KAISER                                                      RICHARD          COLORADO SPRINGS   CO
932   KALLISH                                                     KAREN            CUMBERLAND         MD
933   KAMOKU                                                      MAHINA           ASTORIA            NY
934   KANEPS                                                      ANN              LIBERTY TOWNSHIP   OH
935   KASTELER                                                    CHRIS            SHERMAN OAKS       CA
936   KATZ                                                        ARYEH            BALTIMORE          MD
937   KAUFFELD                                                    JUDY             HINESBURG          VT
938   KAUFFELD                                                    KAREN            S BURLINGTON       VT
939   KAZERANI                                                    DIBA             LONG BEACH         CA
940   KEELER                                                      AMY              LOGAN              UT
941   KEENAN                                                      ERMINIE          DOVER              NH
942   KELLEY                                                      ANDREW           CHATTANOOGA        TN
943   KELLEY                                                      TIANA            SAINT AUGUSTINE    FL
944   KELLOGG COMPANY                                                              BATTLE CREEK       MI
945   KELLOGG COMPANY RETIREE WELFARE BENEFIT PLAN                                 BATTLE CREEK       MI
946   KELLOGG COMPANY WELFARE BENEFIT PLAN                                         BATTLE CREEK       MI
947   KELLUM                                                      SHARON           NORTH BEND         OR
948   KELLY                                                       MAUREEN          DALLAS             TX
949   KENDALL                                                     RUBY             MARKHAM            IL
950   KENNELLY                                                    LOGAN            MOUNTAIN VIEW      CA
951   KENT                                                        KAREN            BATAVIA            NY
952   KEPHALOS                                                    NICK             FUQUAY VARINA      NC
953   KERN                                                        JOHN             VALPARAISO         IN
954   KERN                                                        JULIE            MECHANICSBURG      PA
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                                Business/Last Name                      First Name              City         State/Country
 955   KERR                                                         KEVIN            METUCHEN               NJ
 956   KESKITALO                                                    DANIEL           NEW YORK MILLS         MN
 957   KESKITALO                                                    JOYELL           FARGO                  ND
 958   KESKITALO                                                    SHEILA           NEW YORK MILLS         MN
 959   KESSEL                                                                        CINCINNATI             OH
 960   KESSEL FOOD MARKETS, INC.                                                     CINCINNATI             OH
 961   KESSLER                                                      ARNOLD           BALA CYNWYD            PA
 962   KESTER                                                       LEONA            FRIEDHEIM              MO
 963   KEULER                                                       GISELE           FORT MYERS             FL
 964   KEVORKIAN                                                    ANGELA           NORWALK                CA
 965   KEYSTONE FOODS LLC                                                            SPRINGDALE             AR
 966   KHAN                                                         EUNA             FALCON HEIGHTS         MN
 967   KHAY                                                         YONG             MANASSAS               VA
 968   KIAPOS                                                       HARRY            GARDEN GROVE           CA
 969   KILGORE                                                      PHYLLIS          MILLBRAE               CA
 970   KIM                                                          SEOYEON          TUSCALOOSA             AL
 971   KIMBERLY-CLARK CORPORATION                                                    IRVING                 TX
 972   KIMBLE                                                       KACI             QUINTON                OK
 973   KIMURA                                                       MAHOKO           LA JOLLA               CA
 974   KING                                                         BEVERLY          CLINTON                MO
 975   KING                                                         TIMOTHY          CLINTON                MO
 976   KING SOOPERS                                                                  CINCINNATI             OH
 977   KINSER                                                       SHELLEY          PENSACOLA              FL
 978   KIRCHBAUM                                                    LAURA            GREENE                 NY
 979   KIRK                                                         MAXINE           NEWTON                 KS
 980   KLAIBER                                                      CARRIE           ALFRED                 ME
 981   KLEMENT                                                      KATHERINE        JACKSONVILLE           FL
 982   KLEMP                                                        MELISSA          SENECA                 IL
 983   KLINE                                                        LYNNE            DAVIE                  FL
 984   KLOSS                                                        DEBRA            OAK CREEK              WI
 985   KLOTZ                                                        ALEXANDER        CHOCORUA               NH
 986   KLUSMAN                                                      PAUL             WICHITA                KS
 987   KNAPP MEDICAL CENTER ASC, LLC (KNAPP MEDICAL GROUP)                           WESLACO                TX
 988   KNAPP MEDICAL CENTER ASC, LLC (KNAPP SURGERY CENTER)                          WESLACO                TX
 989   KNAPP MEDICAL GROUP                                                           WESLACO                TX
 990   KNIGHT                                                       DEBBIE           STUARTS DRAFT          VA
 991   KNIGHT                                                       LAUREN           VOLO                   IL
 992   KNISS                                                        GEORGE           ELK GROVE              CA
 993   KNISS                                                        SHARON           ELK GROVE              CA
 994   KNOEBEL                                                      DONNA            SCHAUMBURG             IL
 995   KNOTH                                                        JUDITH           TEMPE                  AZ
 996   KNOWLES                                                      JAMES            CORDOVA                TN
 997   KODRITCH                                                     LAURIE           PALM HARBOR            FL
 998   KOLB                                                         GARY             ARNOLD                 MD
 999   KOPP                                                         TRAVIS           LITTLETON              CO
1000   KORIANITIS                                                   CHENEY           FARGO                  ND
1001   KORTENKAMP                                                   TIM              EAST PALO ALTO         CA
1002   KORTH                                                        LOIS             SAINT GEORGE           UT
1003   KOSIBA                                                       JULIETA          NORTHBROOK             IL
1004   KOTUR                                                        GORAN            NORRIDGE               IL
1005   KRAMER                                                       DELLA            SACRAMENTO             CA
1006   KRAVCHENKO                                                   ELENA            FREDERICKSBURG         VA
1007   KREGEL                                                       MARK             LONE TREE              IA
1008   KRGP INC.                                                                     CINCINNATI             OH
1009   KRINSKY                                                      DOUGLAS          LUTHERVILLE TIMONIUM   MD
1010   KRIZSAN                                                      LINDA            TWINSBURG              OH
1011   KRIZSAN                                                      WILLIAM          TWINSBURG              OH
1012   KROGER                                                                        CINCINNATI             OH
1013   KROGER LIMITED PARTNERSHIP I                                                  CINCINNATI             OH
1014   KROGER TEXAS L.P.                                                             CINCINNATI             OH
1015   KRULL                                                        ALBERTA          LEMONT                 IL
1016   KUBISTA                                                      THEODORE         BOCA GRANDE            FL
1017   KULAVICH                                                     JAMES            WAYMART                PA
1018   KULIKOV                                                      BERTHA           PORTERVILLE            CA
1019   KUNTZ                                                        MELVIN           MONROE                 OH
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1020   KURZ                                                           PAUL                LADERA RANCH      CA
1021   KURZ                                                           SORAYA              LADERA RANCH      CA
1022   KUTASI                                                         BARBARA             CALABASAS         CA
1023   KUTTER                                                         GEORGE              LIHUE             HI
1024   KUTUGATA                                                       DAVID               REDMOND           WA
1025   KYLE                                                           SANDRA              OTTAWA            KS
1026   LA JOLLA INFECTIOUS DISEASE INSTITUTE                                              SAN DIEGO         CA
1027   LACY                                                           BRYCE               DAYTON            OH
1028   LACY                                                           CHRYSOULA           HUBER HEIGHTS     OH
1029   LAFONTAINE                                                     LAURA               TARPON SPRINGS    FL
1030   LAI                                                            FONG CHING          SAN MARINO        CA
1031   LAKE                                                           JANE                EL CAJON          CA
1032   LAKE                                                           LARRY               PALMYRA           MO
1033   LAKE HURON URGENT CARE CENTER, LLC                                                 FORT GRATIOT      MI
1034   LALLI                                                          CELESTE ELAINE      RUTHERFORD        NJ
1035   LALOON                                                         NANTIYA             BERKELEY          CA
1036   LAMASTER                                                       DENISE              BELOIT            WI
1037   LANDUYT                                                        CAROLINE            AUSTIN            TX
1038   LANDUYT                                                        HOLLY               AUSTIN            TX
1039   LANGLEY                                                        ELAINE              HENDERSON         NV
1040   LAPONZINA                                                      KATE                AUGUSTA           GA
1041   LARSEN                                                         TAYLER              GRANITE FALLS     WA
1042   LARSON                                                         DIANE               PERKASIE          PA
1043   LARSON                                                         LARENE              INDEPENDENCE      MO
1044   LAT                                                            MILAGROS            SALINAS           CA
1045   LATHAM                                                         PEGGY               GALLIPOLIS        OH
1046   LATNER                                                         ADAM                TRENTON           FL
1047   LATNER                                                         MARK                TRENTON           FL
1048   LATVAKOSKI                                                     HARRI               HYDE PARK         UT
1049   LAU                                                            CHRISTOPHE          SAINT CLOUD       MN
1050   LAUPUS                                                         ADAM                LOS ANGELES       CA
1051   LAUTZENHEISER                                                  NICOLE              SAN DIEGO         CA
1052   LAVALLE                                                        MARCELLA            EL MIRAGE         AZ
1053   LAW OFFICE OF STEPHEN BRADLEY SMALL, LLC                                           KANSAS CITY       MO
1054   LAW OFFICES OF SCOT D. BERNSTEIN, A PROFESSIONAL CORPORATION                       FOLSOM            CA
1055   LAY                                                            DOROTHY             WESTMINSTER       MD
1056   LAY                                                            SANDRA              WESTMINSTER       MD
1057   LEACH                                                          MICHAEL             SPRING HILL       FL
1058   LEE                                                            JENNY               MARIETTA          GA
1059   LEE                                                            TANIA               WELLESLEY         MA
1060   LEE                                                            WILLIAM             BETHLEHEM         PA
1061   LEFEVERS                                                       ARTHUR              SPRINGFIELD       KY
1062   LEGACY LIFEPOINT HEALTH, LLC                                                       BRENTWOOD         TN
1063   LEIDY                                                          MARILYN             CEDAR CREEK       TX
1064   LEIGHNINGER                                                    BRUCE               VISALIA           CA
1065   LELEKIS                                                        JOHN                TAMPA             FL
1066   LELEKIS                                                        PAULA               TAMPA             FL
1067   LEMOINE                                                        ELAINE              WORCESTER         MA
1068   LEMOINE                                                        JEROME              WORCESTER         MA
1069   LEMUS                                                          LESLIE              MONT ALTO         PA
1070   LENDENNIE                                                      STEVEN              BLYTHEVILLE       AR
1071   LEREW                                                          HANNAH              LANCASTER         PA
1072   LESLIE                                                         REBECCA             CONCORD           VT
1073   LEVERING                                                       MARTHA              CHARLOTTESVILLE   VA
1074   LEWIS                                                          DAWN                ELK GROVE         CA
1075   LEYVA                                                          EDGARDO             CATHEDRAL CITY    CA
1076   LEYVA                                                          ISAAC               CATHEDRAL CITY    CA
1077   LI                                                             MENGBING            ARLINGTON         VA
1078   LIEBL                                                          DIANNE              MAHNOMEN          MN
1079   LIEN                                                           BENJAMIN            MOORHEAD          MN
1080   LIEN                                                           BRUCE               MILTONA           MN
1081   LIEN                                                           SHERIE              MILTONA           MN
1082   LIFEPOINT HEALTH, INC.                                                             BRENTWOOD         TN
1083   LIFEPOINT HEALTH, INC. HEALTH BENEFITS PLAN                                        BRENTWOOD         TN
1084   LIGHT                                                          CARL                ROANOKE           VA
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                              Business/Last Name                      First Name              City     State/Country
1085   LIGHTY                                                     LAWRENCE         GLEN ALLEN         VA
1086   LIGHTY                                                     MABEL            GLEN ALLEN         VA
1087   LILLY                                                      JOHN             OKLAHOMA CITY      OK
1088   LINCOLN NATIONAL CORPORATION                                                RADNOR             PA
1089   LINDNER                                                    KRISTEN          FRANKLIN           MA
1090   LINVILLE                                                   BONNIE           SAINT LOUIS        MO
1091   LITTLE                                                     PAUL             WAYNE              PA
1092   LITTLE                                                     RODNEY           LONSDALE           MN
1093   LITTLE                                                     TED              CHARLESTOWN        IN
1094   LITZENBERGER                                               JULIA            ODEBOLT            IA
1095   LIU                                                        PETER            CAMARILLO          CA
1096   LIVE NATION ENTERTAINMENT, INC.                                             BEVERLY HILLS      CA
1097   LLAMAS                                                     LUIS             DODGE CITY         KS
1098   LOCHRAY                                                    JAMES            AMES               IA
1099   LOCKER                                                     JETTA            INDIANAPOLIS       IN
1100   LOFTUS                                                     AMBER            ALLEGAN            MI
1101   LONG                                                       JAMEY            WOODBRIDGE         VA
1102   LONG                                                       KATHERINE        NEWPORT NEWS       VA
1103   LONG                                                       KATHLEEN         WOODBRIDGE         VA
1104   LONG JR                                                    JOHN             WOODBRIDGE         VA
1105   LOPEZ                                                      AMBER            SPRING             TX
1106   LOPEZ                                                      DIEGO            NORTH ROYALTON     OH
1107   LOPEZ                                                      GREGORY          PRINCETON          NJ
1108   LOPEZ                                                      KARINA           SAN MATEO          CA
1109   LORD                                                       KEITH            VALENCIA           CA
1110   LORENCE                                                    THERESA          TAMPA              FL
1111   LORIO                                                      GARY             DOYLESTOWN         PA
1112   LOTTRIDGE                                                  JUSTIN           BEAVERTON          OR
1113   LOVE                                                       NATHAN           HUEYTOWN           AL
1114   LUBELSKI                                                   JAMES            EDWARDSBURG        MI
1115   LUBELSKI                                                   JEANNE           EDWARDSBURG        MI
1116   LUCADAMO                                                   FRANK            MOUNT VERNON       NY
1117   LUCAS                                                      GENEVA           BRUNSWICK          OH
1118   LUCAS                                                      JAMES            HAMBURG            IA
1119   LUCERNE FOODS, INC.                                                         BOISE              ID
1120   LUEKER                                                     GEORGE           IRVINE             CA
1121   LUKO                                                       DENISE           STUDIO CITY        CA
1122   LUMENOMICS INC                                                              SEATTLE            WA
1123   LUNIK                                                      JOSEPH           FAIRVIEW           PA
1124   LURK                                                       RYAN             ST. LOUIS          MO
1125   LUTHI                                                      GALEN            MORRIS             MN
1126   LUTZ                                                       CLAUDIA          NEWTON             NC
1127   LYNCH                                                      BENJAMIN         LOS ALTOS          CA
1128   MACHIN                                                     JOSE             SAN LORENZO        PR
1129   MACKALL                                                    CRYSTAL          ANNAPOLIS          MD
1130   MACKENZIE                                                  CHRISTINE        LAGUNA NIGUEL      CA
1131   MAGALLAN                                                   PHILLIP          DALLAS             TX
1132   MAHANK                                                     LAURA            KALAMAZOO          MI
1133   MAHER                                                      AMY              EAGLE              ID
1134   MAHER                                                      VIRGINIA         NORTH PROVIDENCE   RI
1135   MAIDANA                                                    MERCEDITAS       AUSTIN             TX
1136   MAITLEN                                                    GLENDA           LOS ALAMITOS       CA
1137   MANCILLA                                                   PEDRO            FAYETTEVILLE       AR
1138   MANDERA                                                    ROBERT           CORPUS CHRISTI     TX
1139   MANDZIARA                                                  BRIAN            MCCULLOM LAKE      IL
1140   MANGUM                                                     BRETT            FORT WORTH         TX
1141   MANGUM                                                     JOE              HARRISBURG         NC
1142   MANHATTAN AND BRONX SURFACE TRANSIT OPERATING AUTHORITY                     NEW YORK           NY
1143   MANLEY                                                     JOAN             OCALA              FL
1144   MANN                                                       NANCY            HUNTINGTON         IN
1145   MANNING                                                    MARTIN           CLEVELAND          NC
1146   MAR                                                        PEARL            DALY CITY          CA
1147   MARAVICH                                                   KAREN            FREEDOM            PA
1148   MARC                                                       PERRY            GLEN ALLEN         VA
1149   MARCINIAK                                                  ALLEN            ORANGE GROVE       TX
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                               Business/Last Name                           First Name             City      State/Country
1150   MARENGO                                                          MARIA            COLLEGE STATION    TX
1151   MARENTES                                                         KAYLA            PARADISE           TX
1152   MARIANO'S FRESH MARKET                                                            CINCINNATI         OH
1153   MARRA                                                            MARGARET         BLUEFIELD          VA
1154   MARTI                                                            JEANETTE         FLORISSANT         MO
1155   MARTIN                                                           AUDREY           OVERLAND PARK      KS
1156   MARTIN                                                           BRENDA           HARRISBURG         PA
1157   MARTIN                                                           DAVID            OVERLAND PARK      KS
1158   MARTIN                                                           DIANE            SARASOTA           FL
1159   MARTIN                                                           DOLLY            CHARLESTON         MO
1160   MARTIN                                                           JUNE             LOS ANGELES        CA
1161   MARTINEZ                                                         LUIS             CALIFORNIA CITY    CA
1162   MARTINEZ                                                         PANFILA          BUDA               TX
1163   MARTINS                                                          LUCIANA          OCEANSIDE          CA
1164   MASON                                                            MARGO            KINGMAN            AZ
1165   MASONER TIDWELL                                                  ANDREA           NORTHPORT          AL
1166   MATA                                                             EDUARDO          LAREDO             TX
1167   MATA                                                             RAQUEL           LAREDO             TX
1168   MATIZ                                                            ROBERT           OCEAN CITY         MD
1169   MATTHEWS                                                         DENNIS           TWENTYNINE PALMS   CA
1170   MATTHEWS                                                         KATHY            VILLA RICA         GA
1171   MATUTE                                                           CHARLENE         SAN ANTONIO        TX
1172   MAXFIELD                                                         LUANN            CRYSTAL            MN
1173   MAXWELL                                                          BRUCE            EUREKA             CA
1174   MAXWELL                                                          DWIGHT           COMPTON            CA
1175   MAY                                                              HOWARD           FLORENCE           AL
1176   MAY                                                              VIRGINIA         FLORENCE           AL
1177   MAYER                                                            ALAN             SAN LEANDRO        CA
1178   MAYER                                                            DOROTHY          JACKSONVILLE       FL
1179   MAZUKA                                                           BERTHA           STOCKTON           CA
1180   MAZURKO                                                          STEVEN           MINNEAPOLIS        MN
1181   MBABAZI                                                          GLORIA           TUCSON             AZ
1182   MCC/METZGER LAND & LIVESTOCK                                                      HAVRE              MT
1183   MCCALL                                                           ELIZABETH        SOUTH JORDAN       UT
1184   MCCARSON                                                         TYLER            HENDERSONVILLE     NC
1185   MCCARTHY                                                         ALEXANDRA        LIVONIA            MI
1186   MCCARTHY                                                         SCOTT            ESTERO             FL
1187   MCCLENDON                                                        MARIE            GALLANT            AL
1188   MCCLENDON                                                        RAY              GALLANT            AL
1189   MCCLINCY                                                         CAROL            FEDERAL WAY        WA
1190   MCCOLLUM                                                         MARY             LAWRENCE           KS
1191   MCCRAY                                                           ALVIN            ORLANDO            FL
1192   MCDANIELS                                                        MIKE             MADISON            IN
1193   MCDONALD                                                         ELLEN            MARTINEZ           CA
1194   MCENANY                                                          VIRGINIA         WAVERLY            IA
1195   MCGETTIGAN                                                       KATHY            DULUTH             GA
1196   MCKENZIE                                                         STEPHEN          PROVIDENCE         RI
1197   MCLAIN                                                           MARK             LOMPOC             CA
1198   MCLANE COMPANY, INC. AND THE MCLANE COMPANY, INC. WELFARE PLAN                    TEMPLE             TX
1199   MCLAWS                                                           JERROLD          OREM               UT
1200   MCLAWS                                                           TERESA           OREM               UT
1201   MCLEAN                                                           FRANCES          NASHUA             NH
1202   MCMATH                                                           COLYNN           SPRINGFIELD        OR
1203   MCMEEL                                                           ROBERT           HOUMA              LA
1204   MCNUTT                                                           JOHN             LADERA RANCH       CA
1205   MCPHEETERS                                                       PAULINE          NEWTON             KS
1206   MCWHITE                                                          AMANDA           RICHMOND           VA
1207   MEADOR                                                           GLENDA           DECATUR            MS
1208   MEEHAN                                                           KEVIN            PORT JEFFERSON     NY
1209   MEIJER GREAT LAKES LP                                                             GRAND RAPIDS       MI
1210   MEIJER HEALTH BENEFITS PLAN                                                       GRAND RAPIDS       MI
1211   MEIJER STORES LP & TOWN TOTAL HEALTH, LLC                                         GRAND RAPIDS       MI
1212   MEIJER, INC.                                                                      GRAND RAPIDS       MI
1213   MEISENHEIMER                                                     TATJANA          EL DORADO          AR
1214   MELCHIORE                                                        FRANK            ST PETERSBURG      FL
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1215   MENDOZA                                                      STEPHANIE        LAKE ORION        MI
1216   MERKEL                                                       VICKI            FENTON            MO
1217   MERKLIN                                                      JAN              TIGARD            OR
1218   MERKLIN                                                      LEE              TIGARD            OR
1219   MERRITT                                                      DARLENE          SAN JOSE          CA
1220   MERRITT                                                      PEGGY            OPELIKA           AL
1221   MERRITT                                                      SEAN             SANTA ANA         CA
1222   METCALF, TILLER, & CHEN, INC.                                                 RENO              NV
1223   METRO MARKET                                                                  CINCINNATI        OH
1224   METRO-NORTH COMMUTER RAILROAD COMPANY                                         NEW YORK          NY
1225   METROPOLITAN TRANSPORTATION AUTHORITY                                         NEW YORK          NY
1226   MEUHP MORGAN CO R-I SCHOOL DISTRICT                                           STOVER            MO
1227   MEYER                                                        CHRISTOPHER      LOUISVILLE        KY
1228   MEYER                                                        MICHELLE         LEDBETTER         TX
1229   MEYERS                                                       CHRISTOPHER      WASHINGTON        DC
1230   MICHAEL DOLE MD                                                               ALEXANDRIA        LA
1231   MICHIGAN ELECTRICAL EMPLOYEES' HEALTH FUND                                    LANSING           MI
1232   MICKLE                                                       LARRY            BULLHEAD CITY     AZ
1233   MILBURN                                                      MARILYN          SARASOTA          FL
1234   MILBURN                                                      WILLIAM          SARASOTA          FL
1235   MILES                                                        NORMA            MARTIN            TN
1236   MILITELLO                                                    JAMES            DENHAM SPRINGS    LA
1237   MILITELLO                                                    LINDA            DENHAM SPRINGS    LA
1238   MILLER                                                       BRIAN            SANFORD           FL
1239   MILLER                                                       CAROLYN          GALVESTON         TX
1240   MILLER                                                       DEBRA            BLOOMINGTON       IL
1241   MILLER                                                       JEFFREY          BAKERSFIELD       CA
1242   MILLER                                                       LAWANDA          EASTPOINTE        MI
1243   MILLER                                                       MARC             BOSSIER CITY      LA
1244   MILLER                                                       RITA             TIMONIUM          MD
1245   MILLER                                                       ROBERT           MERCED            CA
1246   MILLET                                                       BLAKE            PONCHATOULA       LA
1247   MILLIKAN                                                     RICHARD          LOS ANGELES       CA
1248   MILLMAN                                                      JANET            PENNSAUKEN        NJ
1249   MILLS                                                        KENNETH          SPRING HILL       FL
1250   MIMS                                                         JACQUELITA       HOUSTON           TX
1251   MINKS                                                        WILLIAM          KNOXVILLE         TN
1252   MISKIMEN                                                     MARGARET         LIVONIA           MI
1253   MISSION HOSPITAL, INC.                                                        MISSION           TX
1254   MITCHELL                                                     CAROLYN          WILLIAMSBURG      VA
1255   MITCHELL                                                     ROY              WILLIAMSBURG      VA
1256   MIXON                                                        KAYLEEN          DOUGLAS           WY
1257   MOATS                                                        SAMUEL           WINCHESTER        VA
1258   MOGAN                                                        RUTH             NORTH PORT        FL
1259   MOGOVAN                                                      DANIEL           SPRINGFIELD       MO
1260   MOHANDOSS                                                    SARANYA          SAMMAMISH         WA
1261   MONDT                                                        CAROL            HAMMOND           LA
1262   MONTGOMERY                                                   LINDEN           PUYALLUP          WA
1263   MOORE                                                        DAWN             SPRINGFIELD       MA
1264   MOORE                                                        GERALDINE        WETUMPKA          AL
1265   MOORE                                                        JAMES            SPRINGFIELD       MA
1266   MOORE                                                        MARILYN          WHITESBORO        TX
1267   MORANDO                                                      NICHOLAS         BOCA RATON        FL
1268   MORANO                                                       MICHAEL          MILFORD           CT
1269   MORELAND                                                     ROY              DEPORT            TX
1270   MORENO                                                       DANIEL           HOUSTON           TX
1271   MORGAN                                                       ESTATE OF JOHN   YREKA             CA
1272   MORGAN                                                       KAREN            SHELBY TOWNSHIP   MI
1273   MORGAN                                                       MACK             UNIONTOWN         AL
1274   MORRIS                                                       DONNA            SULPHUR           LA
1275   MORRIS                                                       SHERYL           RICHMOND          MI
1276   MORSE                                                        SHEILA           EAST ORANGE       NJ
1277   MOTTA                                                        MATTHEW          TAMPA             FL
1278   MOYERS                                                       CRYSTAL          SWANNANOA         NC
1279   MS INSPECTIONS AND LOGISTICS INC                                              INDIANAPOLIS      IN
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                               Business/Last Name                            First Name             City      State/Country
1280   MTA BUS COMPANY                                                                    NEW YORK           NY
1281   MTA CONSTRUCTION & DEVELOPMENT COMPANY                                             NEW YORK           NY
1282   MULHAUSER                                                         KIMBERLY         WINDHAM            NH
1283   MULLEN                                                            JAN              MARIPOSA           CA
1284   MULLEN                                                            ROBERT           MARIPOSA           CA
1285   MUNN                                                              MARY             HOUSTON            TX
1286   MUNN                                                              THOMAS           HOUSTON            TX
1287   MUNRO                                                             HEATHER          FALCON HEIGHTS     MN
1288   MURPHY                                                            ANTHONY          SLOCOMB            AL
1289   MURPHY                                                            MICHAEL          NASHVILLE          TN
1290   MURPHY                                                            WILLIAM          OKLAHOMA CITY      OK
1291   MURRAY                                                            MARK             CAMPBELLSBURG      KY
1292   MUSSO                                                             THOMAS           DELMONT            PA
1293   MUTSCHLER                                                         LORRIE           EVERETT            WA
1294   MUZIO                                                             FRANCO           CHATHAM            MA
1295   MUZIO                                                             SANDRA           CHATHAM            MA
1296   MYERS                                                             JANICE           BEALETON           VA
1297   MYERS                                                             LAWRENCE         BEALETON           VA
1298   MYERS                                                             MICHAEL          HUNTINGTON BEACH   CA
1299   MYTELKA                                                           DANIEL           CARMEL             IN
1300   NAM                                                               KI WON           ISSAQUAH           WA
1301   NAPIER                                                            GALEN            FAIRBURY           NE
1302   NAPIER                                                            LAUREL           FAIRBURY           NE
1303   NARDIL                                                            ROBERT           SAN FRANCISCO      CA
1304   NATUZZI                                                           EILEEN           ENCINITAS          CA
1305   NAUJOKAS                                                          PHYLLIS          CHESAPEAKE CITY    MD
1306   NAVA                                                              NOE              CROWN POINT        IN
1307   NAY                                                               GINA             AURORA             CO
1308   NEELEY                                                            VIRGINIA         SAINT ANSGAR       IA
1309   NEFF                                                              DAVID            KIRKLAND           WA
1310   NEFF                                                              WENDY            ONAWAY             MI
1311   NEIMAN                                                            REBECCA          WEST HOLLYWOOD     CA
1312   NELSON                                                            LOIS             KEIZER             OR
1313   NELSON                                                            LOLA             GREENDALE          WI
1314   NELSON                                                            MAREN            REDONDO BEACH      CA
1315   NELSON                                                            ROBERT           SYKESVILLE         MD
1316   NETZLER                                                           JOHN             MILWAUKEE          WI
1317   NEVILLE                                                           AARON            SAN DIEGO          CA
1318   NEVITT                                                            ELEANOR          PARSIPPANY         NJ
1319   NEW ALBERTSON'S, INC.                                                              BOISE              ID
1320   NEW YORK CITY TRANSIT AUTHORITY                                                    BROOKLYN           NY
1321   NEXTERA ENERGY, INC.                                                               JUNO BEACH         FL
1322   NGUYEN                                                            CHARLES          ANAHEIM            CA
1323   NGUYEN                                                            HOA              HOUSTON            TX
1324   NGUYEN                                                            MINH             MADISON            AL
1325   NGUYEN                                                            THOAI            MARRERO            LA
1326   NICHOLS                                                           MARJORIE         KELSO              WA
1327   NICHOLSON                                                         CARIESSA         WEST PALM BEACH    FL
1328   NICHOLSON                                                         JOHN             DOVER              NH
1329   NICK                                                              KELLIE           MESA               AZ
1330   NICKOL                                                            STEPHEN          STEVENSVILLE       MD
1331   NIELSEN                                                           DOUGLAS          RALEIGH            NC
1332   NIELSEN                                                           MELODY           RALEIGH            NC
1333   NIOSI                                                             JOHN             ELMWOOD PARK       NJ
1334   NISHIIE                                                           KAREN            HONOLULU           HI
1335   NOAH                                                              GWYN             STANTON            MI
1336   NOESSER                                                           VINCENT          PORTER             TX
1337   NOLAN                                                             PATRICIA         MIRAMAR            FL
1338   NOLL                                                              JEANNINE         SAINT LOUIS        MO
1339   NOMIDES                                                           VINCENT          JACKSONVILLE       FL
1340   NORSWING                                                          VICTORIA         FRESNO             CA
1341   NORSWING JR                                                       ROBERT           FRESNO             CA
1342   NORTH                                                             KATHRYN          CHESAPEAKE         VA
1343   NORTH CENTRAL STATES REGIONAL COUNCIL OF CARPENTERS HEALTH FUND                    EAU CLAIRE         WI
1344   NORTH VISTA HOSPITAL, LLC                                                          NORTH LAS VEGAS    NV
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1345   NORTH VISTA PHYSICIANS, LLC                                                      NORTH LAS VEGAS      NV
1346   NOTARNICOLA                                                   FRANCINE           SPRING HILL          FL
1347   NOTHSTINE                                                     MARILYN            BALDWIN              IA
1348   NOVO-GRADAC                                                   ANDREW             MISSION              KS
1349   NUR                                                           ABDIRAHMAN         SARASOTA             FL
1350   NUXOLL                                                        BEAU               CLARKSTON            WA
1351   NYBAKKEN                                                      JERRY              TIFFIN               IA
1352   OBRIEN                                                        KATHLEEN           TRAVERSE CITY        MI
1353   OCAMPO                                                        IRMA               CATHEDRAL CITY       CA
1354   O'CONNOR HOSPITAL                                                                DALY CITY            CA
1355   O'CONNOR HOSPITAL FOUNDATION                                                     DALY CITY            CA
1356   OEM MANUFACTURING AND SALES                                                      SAN DIEGO            CA
1357   OHIO CARPENTERS HEALTH FUND                                                      TROY                 MI
1358   O'KEEFE                                                       RUTH               WETHERSFIELD         CT
1359   OLINK                                                         JANE               FOREST LAKE          MN
1360   OLIVA                                                         FRANCES            LENEXA               KS
1361   OLSEN                                                         CODY               IDAHO FALLS          ID
1362   O'MALLEY                                                      RITA               LOMBARD              IL
1363   O'NEAL                                                        BRIAN              ATLANTA              GA
1364   O'NEAL                                                        LYDIA              FAIRFIELD TOWNSHIP   OH
1365   ONG                                                           FIONA              SAN JOSE             CA
1366   ONKEN                                                         MICHELLE           VICTORVILLE          CA
1367   OOSTING                                                       PEG                ELLENSBURG           WA
1368   ORMEROD                                                       SALLY              SUMMERVILLE          SC
1369   ORTIZ                                                         DAVID              DES MOINES           IA
1370   ORTIZ                                                         LEGNA              SAN JUAN             PR
1371   ORTMANN                                                       BRENDA             CENTERVILLE          IA
1372   ORVIN                                                         CLARE              WEST COLUMBIA        SC
1373   OSHEL                                                         CHRISTINE ETTA     DOWNERS GROVE        IL
1374   OSHEL                                                         DOUGLAS            DOWNERS GROVE        IL
1375   OSIRIS                                                        LAWRENCE           ALBUQUERQUE          NM
1376   OSORIO                                                        MICHAEL            HONOLULU             HI
1377   OTSUBO                                                        SHOKO              SAN DIEGO            CA
1378   OTTOSEN                                                       ASHLIE             PHOENIX              AZ
1379   OVERBAUGH                                                     SHARON             SAINT PAUL           MN
1380   OVERBECK                                                      KIM                SIMI VALLEY          CA
1381   OVERDUIJN                                                     DENISE             JASPER               GA
1382   OWEN                                                          ANN                SKIPWITH             VA
1383   OWEN                                                          MATTHEW            SKIPWITH             VA
1384   OWEN                                                          RONNIE             SKIPWITH             VA
1385   OWENS                                                         ANGIE              DANVILLE             VA
1386   OWEN'S                                                                           CINCINNATI           OH
1387   PAASCH                                                        ETHAN              GALESBURG            IL
1388   PACE                                                          ANDREW             CHARLOTTE            NC
1389   PACOLAY                                                       BRUCE              NORTH VERSAILLES     PA
1390   PADGETT                                                       JESSICA            BROKEN ARROW         OK
1391   PAEZ                                                          PAULA              ANN ARBOR            MI
1392   PAINTER                                                       GEORGE             COLUMBUS             OH
1393   PAK 'N SAVE FOODS                                                                BOISE                ID
1394   PALADINO                                                      ELYSIA             PITTSBURGH           PA
1395   PALUMBO                                                       ANTHONY            ELMONT               NY
1396   PALUMBO                                                       MARILYN            GAINESVILLE          FL
1397   PANDYA                                                        HEMANGINI          METUCHEN             NJ
1398   PAPANDREOU                                                    ANDREW             SCOTTSDALE           AZ
1399   PARADISE VALLEY MEDICAL GROUP, INC.                                              NATIONAL CITY        CA
1400   PARIS                                                         JILL               LEXINGTON            KY
1401   PARK                                                          SANG               CHANTILLY            VA
1402   PARKER                                                        ALLAN              EDEN PRAIRIE         MN
1403   PARKER                                                        ANN                EDEN PRAIRIE         MN
1404   PARKER                                                        ESTATE OF CAROLE   IRVINE               CA
1405   PARKER                                                        ESTATE OF EUGENE   IRVINE               CA
1406   PARKER                                                        LISA               SAMSON               AL
1407   PARKER                                                        RANDY              MCMINNVILLE          OR
1408   PARKER                                                        SARAH              TIERRA VERDE         FL
1409   PARMER                                                        MARIA              MOBILE               AL
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1410   PARSLEY                                                       MARIA            TAMPA                 FL
1411   PARTHUM                                                       MARIANNE         GROSSE POINTE WOODS   MI
1412   PARTSSOURCE INC                                                                AURORA                OH
1413   PASCHAL                                                       CORRINE          KANSAS CITY           MO
1414   PATEL                                                         ANKIT            BUFFALO               NY
1415   PATEL                                                         SARLA            VIRGINIA BEACH        VA
1416   PATEL                                                         SHIV             DAYTON                OH
1417   PATT                                                          BARBARA          LEOMA                 TN
1418   PATTERSON                                                     BOBBIE           MCMINNVILLE           TN
1419   PATTERSON                                                     JOE              MCMINNVILLE           TN
1420   PAUL HASTINGS LLP                                                              LOS ANGELES           CA
1421   PAULINO                                                       SARA             LEXINGTON             MA
1422   PAULSON                                                       MARY             HOUSTON               TX
1423   PAVILIONS                                                                      BOISE                 ID
1424   PAVILIONS PLACE                                                                BOISE                 ID
1425   PAWOL                                                         RICHARD          KEASBEY               NJ
1426   PAY LESS SUPER MARKETS                                                         CINCINNATI            OH
1427   PAYNE                                                         MICHAEL          NEWPORT BEACH         CA
1428   PAZMINO                                                       DANIEL           NEW YORK              NY
1429   PAZMINO                                                       JORGE            NEW YORK              NY
1430   PEABODY                                                       MARIA            SOUTH DARTMOUTH       MA
1431   PEABODY                                                       THOMAS           S DARTMOUTH           MA
1432   PEACOCK                                                       VIRGINIA         HUNTINGTON BEACH      CA
1433   PEARSON                                                       ERICA            FARGO                 ND
1434   PECHKIS                                                       BRIAN            STROUDSBURG           PA
1435   PENDO                                                         JOANNE           WYANDOTTE             MI
1436   PENROD                                                        JONATHAN         CROWN POINT           IN
1437   PENTA                                                         LISA             PAWTUCKET             RI
1438   PEPLOE                                                        AMANDA           POULSBO               WA
1439   PERALEZ                                                       IRMA             FRISCO                TX
1440   PERDUE FARMS INC.                                                              SALISBURY             MD
1441   PEREVICH                                                      MARYANN          SPENCERPORT           NY
1442   PEREZ                                                         FLAUBERT         LAWRENCE              MA
1443   PEREZ RODRIGUEZ                                               ZORAIDA          TRUJILLO ALTO         PR
1444   PERKINS                                                       CHIANA           TAYLORSVILLE          MS
1445   PERKINS                                                       JAMES            LAKE CHARLES          LA
1446   PERKINS                                                       STEVEN           HOMOSASSA             FL
1447   PERRY                                                         BILLY            CLARKSVILLE           TN
1448   PERRY                                                         KATHY            CLARKSVILLE           TN
1449   PETER                                                         EMELDA           PLANO                 TX
1450   PETERS                                                        ERIC             COLLINGSWOOD          NJ
1451   PETERS                                                        JOHN             MIDDLEBORO            MA
1452   PETERSON                                                      BEVERLY          HAVRE                 MT
1453   PETERSON                                                      JAMES            AUSTIN                TX
1454   PETERSON                                                      THOMAS           MOSS BEACH            CA
1455   PETRIZZO                                                      FRANCES          SECAUCUS              NJ
1456   PETRIZZO                                                      MARY             SECAUCUS              NJ
1457   PHELPS                                                        LEE              TEMPLE TERRACE        FL
1458   PHILLIPS                                                      CARA             DALLAS                TX
1459   PHILLIPS                                                      ELIZABETH        VENICE                FL
1460   PHILLIPS                                                      GWENDOLYN        UNIONTOWN             AL
1461   PHILLIPS                                                      SUSAN            WOODBRIDGE            VA
1462   PHIPPS                                                        DONALD           REMUS                 MI
1463   PICCARELLI                                                    MARIANNA         SAN DIEGO             CA
1464   PICK 'N SAVE                                                                   CINCINNATI            OH
1465   PIENTKA                                                       NICHOLE          PALATINE              IL
1466   PILSHAW                                                       DEBORAH          WEATHERLY             PA
1467   PILSHAW                                                       PETER            WEATHERLY             PA
1468   PINKLETON                                                     ELIZABETH        WINCHESTER            TN
1469   PINLEY                                                        ALPHA            PAULS VALLEY          OK
1470   PIPPEN                                                        TOMMY            LAS CRUCES            NM
1471   PITTS                                                         GWENDOLYN        SELMA                 AL
1472   PLUMBERS’ WELFARE FUND, LOCAL 130, U.A.                                        CHICAGO               IL
1473   POINDEXTER                                                    PIERRE           CHICAGO               IL
1474   POLLICH                                                       ANNELIESE        TRENTON               NJ
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                                 Business/Last Name                               First Name                 City        State/Country
1475   POOLER                                                                 IVAN             WASILLA              AK
1476   POOLER                                                                 PATRICIA         WASILLA              AK
1477   PORRO CARVALHAR                                                        ANDRES           IRVINE               CA
1478   PORTER                                                                 CAROL            TICONDEROGA          NY
1479   PORTER                                                                 GRACE            AUSTIN               TX
1480   POTTS                                                                  MARGARET         RICHMOND             KY
1481   PRABHUNE                                                               AKANKSHA         PUNE                 INDIA
1482   PRADO GONZALEZ                                                         DIMNA            CHULA VISTA          CA
1483   PRAH                                                                   DAVID            WESTFIELD            NC
1484   PRAH                                                                   WINNIE           WESTFIELD            NC
1485   PRASAD                                                                 ADITI            CALGARY              CANADA
1486   PREJEAN                                                                CHARLOTTE        THIBODAUX            LA
1487   PREJEAN                                                                RUSSELL          THIBODAUX            LA
1488   PRESTON                                                                JESSICA          SEATTLE              WA
1489   PRICE                                                                  BRENDAN          BIRMINGHAM           AL
1490   PRICE                                                                  LANCE            ORLANDO              FL
1491   PRICE                                                                  LORA             ROSALIA              WA
1492   PRIME GARDEN CITY MEDICAL GROUP, INC.                                                   GARDEN CITY          MI
1493   PRIME HEALTHCARE ANAHEIM, LLC                                                           ANAHEIM              CA
1494   PRIME HEALTHCARE BLUE SPRINGS, LLC                                                      BLUE SPRINGS         MO
1495   PRIME HEALTHCARE CENTINELA, LLC                                                         INGLEWOOD            CA
1496   PRIME HEALTHCARE FOUNDATION - COSHOCTON, LLC                                            COSHOCTON            OH
1497   PRIME HEALTHCARE FOUNDATION - SOUTHERN REGIONAL, LLC                                    RIVERDALE            GA
1498   PRIME HEALTHCARE FOUNDATION, INC.                                                       ONTARIO              CA
1499   PRIME HEALTHCARE HUNTINGTON BEACH, LLC                                                  HUNTINGTON BEACH     CA
1500   PRIME HEALTHCARE KANSAS CITY - HOME HEALTH CARE SERVICES, LLC                           BLUE SPRINGS         MO
1501   PRIME HEALTHCARE KANSAS CITY - PHYSICIAN SERVICES, LLC (SOUTH KANSAS                    KANSAS CITY          MO
       SURGICENTER)
1502   PRIME HEALTHCARE KANSAS CITY - PHYSICIAN SERVICES, LLC (ST. JOSEPH                      KANSAS CITY          MO
       MEDICAL GROUP AND ST. MARY'S MEDICAL GROUP)
1503   PRIME HEALTHCARE LA PALMA, LLC                                                          LA PALMA             CA
1504   PRIME HEALTHCARE MANAGEMENT, INC.                                                       ONTARIO              CA
1505   PRIME HEALTHCARE PARADISE VALLEY, LLC                                                   NATIONAL CITY        CA
1506   PRIME HEALTHCARE PHYSICIANS SERVICES - PROVIDENCE, INC. DBA                             KANSAS CITY          KS
       PROVIDENCE MEDICAL GROUP
1507   PRIME HEALTHCARE SERVICES - ENCINO HOSPITAL, LLC                                        ENCINO               CA
1508   PRIME HEALTHCARE SERVICES - GADSDEN PHYSICIAN MANAGEMENT, LLC                           GADSDEN              AL
1509   PRIME HEALTHCARE SERVICES - GADSDEN, LLC                                                GADSDEN              AL
1510   PRIME HEALTHCARE SERVICES - GARDEN CITY, LLC                                            GARDEN               MI
1511   PRIME HEALTHCARE SERVICES - GARDEN GROVE, LLC                                           GARDEN GROVE         CA
1512   PRIME HEALTHCARE SERVICES - KANSAS CITY, LLC                                            KANSAS CITY          MO
1513   PRIME HEALTHCARE SERVICES - LANDMARK, LLC                                               WOONSOCKET           RI
1514   PRIME HEALTHCARE SERVICES - LANDMARK, LLC                                               NORTH SMITHFIELD     RI
1515   PRIME HEALTHCARE SERVICES - LEHIGH ACRES, LLC                                           LEHIGH ACRES         FL
1516   PRIME HEALTHCARE SERVICES - LEHIGH PHYSICIANS MANAGEMENT, LLC                           LEHIGH ACRES         FL
1517   PRIME HEALTHCARE SERVICES - LOWER BUCKS LLC                                             BRISTOL              PA
1518   PRIME HEALTHCARE SERVICES - MESQUITE, LLC                                               MESQUITE             TX
1519   PRIME HEALTHCARE SERVICES - MONROE, LLC                                                 BLOOMINGTON          IN
1520   PRIME HEALTHCARE SERVICES - MONTCLAIR, LLC                                              MONTCLAIR            CA
1521   PRIME HEALTHCARE SERVICES - PAMPA, LLC                                                  PAMPA                TX
1522   PRIME HEALTHCARE SERVICES - PORT HURON                                                  PORT HURON           MI
1523   PRIME HEALTHCARE SERVICES - PROVIDENCE, LLC                                             KANSAS CITY          KS
1524   PRIME HEALTHCARE SERVICES - RENO, LLC                                                   RENO                 NV
1525   PRIME HEALTHCARE SERVICES - ROXBOROUGH, LLC                                             PHILADELPHIA         PA
1526   PRIME HEALTHCARE SERVICES - SAINT CLARE'S LLC                                           BOONTON              NJ
1527   PRIME HEALTHCARE SERVICES - SAINT CLARE'S LLC                                           DENVILLE             NJ
1528   PRIME HEALTHCARE SERVICES - SAINT CLARE'S LLC                                           DOVER                NJ
1529   PRIME HEALTHCARE SERVICES - SAINT CLARE'S LLC                                           SUSSEX               NJ
1530   PRIME HEALTHCARE SERVICES - SAINT JOHN LEAVENWORTH, LLC                                 LEAVENWORTH          KS
1531   PRIME HEALTHCARE SERVICES - SAN DIMAS, LLC                                              SAN DIMAS            CA
1532   PRIME HEALTHCARE SERVICES - SHASTA, LLC                                                 REDDING              CA
1533   PRIME HEALTHCARE SERVICES - SHERMAN OAKS, LLC                                           SHERMAN OAKS         CA
1534   PRIME HEALTHCARE SERVICES - ST. FRANCIS, LLC                                            LYNWOOD              CA
1535   PRIME HEALTHCARE SERVICES - ST. MARY'S PASSAIC, LLC                                     PASSAIC              NJ
1536   PRIME HEALTHCARE SERVICES - ST. MICHAEL'S, LLC                                          NEWARK               NJ
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1537   PRIME HEALTHCARE SERVICES - SUBURBAN HOSPITAL, LLC                                 NORRITON           PA
1538   PRIME HEALTHCARE SERVICES INC                                                      ONTARIO            CA
1539   PRIME HOSPITALITY, LLC                                                             VICTORVILLE        CA
1540   PROVIDENCE PLACE, INC.                                                             KANSAS CITY        KS
1541   PRUNTY                                                            TERESA           MAPLE GROVE        MN
1542   PRUTZMAN                                                          HEATHER          OCEANSIDE          CA
1543   PUBLIX SUPER MARKETS, INC. AND PUBLIX SUPER MARKETS, INC. GROUP                    LAKELAND           FL
       HEALTH BENEFIT PLAN
1544   PUGLIESE                                                          LOU              CISCO              TX
1545   PUHALA                                                            DARYN            ORWIGSBURG         PA
1546   PULIDO                                                            GLORIA           SAN ANTONIO        TX
1547   QFC                                                                                CINCINNATI         OH
1548   QUEEN                                                             GERLADINE        LIMESTONE          TN
1549   QUERCIOLI                                                         LISA             LOS ANGELES        CA
1550   QUINLAN                                                           KATHLEEN         AGOURA HILLS       CA
1551   RABON                                                             MARY             TONGANOXIE         KS
1552   RAD                                                               AHMAD            SALINE             MI
1553   RADEK                                                             SHARON           GURNEE             IL
1554   RAGBIR                                                            BRANDON          SEATTLE            WA
1555   RAINES                                                            CYNTHIA          KNOXVILLE          TN
1556   RAINS                                                             KARA             BOSSIER CITY       LA
1557   RALPH                                                             MICHELLE         EAGLE POINT        OR
1558   RALPHS                                                                             CINCINNATI         OH
1559   RALPHS GROCERY COMPANY                                                             CINCINNATI         OH
1560   RAMALINGAM                                                        OBULIRAJ         OLYMPIA            WA
1561   RAMBO                                                             MARY             CHESAPEAKE CITY    MD
1562   RAMEY                                                             DEON             AUSTELL            GA
1563   RAMEY                                                             VICTORIA         AUSTELL            GA
1564   RAMIREZ                                                           FRANCISCO        UNION CITY         CA
1565   RANDALL                                                           TOM              ARROYO GRANDE      CA
1566   RANDALL'S                                                                          BOISE              ID
1567   RANDALL'S FOOD & DRUGS LP                                                          BOISE              ID
1568   RAPPE                                                             DONNA            ODENTON            MD
1569   RARDIN                                                            JANET            N RICHLAND HILLS   TX
1570   RATNER                                                            ERICA            SEATTLE            WA
1571   RAUTIOLA                                                          DAVIN            PACIFICA           CA
1572   RAY                                                               CAREN            HAYWARD            CA
1573   RAYBOURN                                                          RUSSELL          JOSEPHINE          TX
1574   RAYNOR                                                            KATHRYN          STEVENS            PA
1575   REDD                                                              DAVID            GRANTS PASS        OR
1576   REDDY DEVELOPMENT LLC                                                              SCOTTSDALE         AZ
1577   REGIONALCARE HOSPITAL PARTNERS HOLDINGS                                            BRENTWOOD          TN
1578   REGIONALCARE HOSPITAL PARTNERS, INC.                                               BRENTWOOD          TN
1579   REHM                                                              JUDY             ORRVILLE           OH
1580   REIGLE                                                            WILLIAM          ICKESBURG          PA
1581   REILLY                                                            ESTATE OF MARY   DREXEL HILL        PA
1582   REVERS                                                            CHERI            ROSEVILLE          MI
1583   REYNOLDS                                                          CLAUDINE         BIRMINGHAM         AL
1584   RHODEN                                                            JAMES            GEORGETOWN         IL
1585   RHODES                                                            KRYSTINA         LITTLE ROCK        AR
1586   RIAL                                                              MICHAEL          CEDAR SPRINGS      MI
1587   RIBE                                                              CALIANDRA        CHULA VISTA        CA
1588   RICE                                                              DAVID            VOLGA              SD
1589   RICE                                                              LAURA            VOLGA              SD
1590   RICE                                                              LYNN             CHICO              CA
1591   RICHARD                                                           ANDREW           LAFAYETTE          LA
1592   RICHARDS                                                          CAROLYN          SANDY              UT
1593   RIDDLE                                                            HAZEL            MADISONVILLE       KY
1594   RILEY                                                             BLANCHE          CAMDEN             SC
1595   RINAUDO                                                           ANTONINO         HAZLET TOWNSHIP    NJ
1596   RINDFUSZ                                                          DEENA            FLOWERY BRANCH     GA
1597   RINDFUSZ                                                          JOHN             FLOWERY BRANCH     GA
1598   RINSET                                                            LINDA            FAIR OAKS          CA
1599   RIST                                                              CARA             BLOOMINGTON        IL
1600   RITCHIE                                                           CHAD             GREENCASTLE        PA
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1601   RITCHIE                                                     PHYLICIA          GREENCASTLE        PA
1602   RITE AID CORPORATION                                                          CAMP HILL          PA
1603   RIVER VALLEY PHYSICIANS, LLC                                                  EAST LIVERPOOL     OH
1604   RIVERA                                                      VALERY            TAMPA              FL
1605   RIVERS                                                      LAUREN            BROOKLYN HEIGHTS   OH
1606   RML ARCHITECTS LLC                                                            SIOUX CITY         IA
1607   ROACH                                                       RHONDA            WEST DES MOINES    IA
1608   ROBBINS                                                     MELISSA           GREENSBURG         IN
1609   ROBERT F. KENNEDY MEDICAL CENTER                                              DALY CITY          CA
1610   ROBERT F. KENNEDY MEDICAL CENTER FOUNDATION                                   DALY CITY          CA
1611   ROBERTS                                                     ADAM              RESTON             VA
1612   ROBERTS                                                     CARLA MARIE       JEMISON            AL
1613   ROBINSON                                                    FAYE              PORTLAND           OR
1614   ROBINSON                                                    MEGAN             ROYERSFORD         PA
1615   ROBLES                                                      YVONNE            VALENCIA           CA
1616   ROCKHOLD                                                    CHRISTINA         MANHATTAN          KS
1617   ROCKWELL                                                    ANITA JO          TAMPA              FL
1618   RODELO                                                      LOPE              OREGON             WI
1619   RODENHISER                                                  JOHN              RACINE             WI
1620   RODRIGUEZ                                                   CARMEN            LOS ANGELES        CA
1621   RODRIGUEZ                                                   SUSANA            MIAMI              FL
1622   ROESSLE                                                     JAMES             HAZLET             NJ
1623   ROESSLE                                                     SHARON            HAZLET             NJ
1624   ROMAN                                                       AUSTIN            MANASSAS           VA
1625   ROMERO                                                      CATHERINE         SANTA BARBARA      CA
1626   ROPP                                                        ESTATE OF MARIE   FOSTORIA           OH
1627   ROSARIO                                                     SUE-LING          FORT LAUDERDALE    FL
1628   ROSE                                                        CAROL             CHERRY HILL        NJ
1629   ROSEN                                                       HELEN             BRONX              NY
1630   ROSS                                                        CAPRICIA          MANCHESTER         NH
1631   ROSSI                                                       JULIE             TABERNACLE         NJ
1632   ROTH                                                        DAVID             FAIRLAND           IN
1633   ROTLISBERGER                                                JEFFREY           RENO               NV
1634   ROTLISBERGER                                                LYNN              RENO               NV
1635   ROUNDY'S INC.                                                                 CINCINNATI         OH
1636   ROWE                                                        NANCY             WILLIAMSBURG       KY
1637   RUEDIN                                                      MARY              ALTON              IL
1638   RUFER                                                       DI ANN            HIGHLAND           IL
1639   RUFER                                                       GARY              HIGHLAND           IL
1640   RUIZ TORRES                                                 VERONICA          COMPTON            CA
1641   RULER FOODS                                                                   CINCINNATI         OH
1642   RUMBECK                                                     BRET              BOISE              ID
1643   RUPPERT                                                     CAROL             MOUNT PROSPECT     IL
1644   RUPPERT                                                     JOAN              MT PROSPECT        IL
1645   RUSNOCK                                                     KARL              CHANDLER           AZ
1646   RUSSELL                                                     BEVERLY           ALBIA              IA
1647   RUSSELL                                                     MICHAEL           CLOVIS             NM
1648   RUSSO                                                       PETER             EAST WILLISTON     NY
1649   RYDER                                                       NICHOLAS          STEILACOOM         WA
1650   RYE                                                         PAMELA            BROOKHAVEN         GA
1651   SABINI                                                      PATRICIA          NEW YORK           NY
1652   SADLER                                                      GRACIE            CREWE              VA
1653   SAFEWAY                                                                       BOISE              ID
1654   SAFEWAY FOOD & DRUG                                                           BOISE              ID
1655   SAFEWAY INC.                                                                  BOISE              ID
1656   SAINT MARY'S MEDICAL GROUP, INC.                                              RENO               NV
1657   SALM                                                        VANESSA           FLORIANOPOLIS      BRAZIL
1658   SALMONS                                                     KATHRYN           MILTON             WV
1659   SALVAS                                                      KEITH             CAMARILLO          CA
1660   SALZMAN                                                     DENISE            ROCKLIN            CA
1661   SAMI                                                        HARI              MORENO VALLEY      CA
1662   SAMUEL                                                      MARTIN            LOS ANGELES        CA
1663   SANCHEZ                                                     ANITA             LOVELAND           CO
1664   SANCHEZ                                                     LINDA             SEATTLE            WA
1665   SANDERS                                                     EDWARD            JACKSON            MI
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1666   SANDERS                                                      PATRICIA         JACKSON           MI
1667   SANTINI                                                      NICOLE           NAPLES            FL
1668   SANTO                                                        ALICE            TAYLOR            MI
1669   SASH                                                         LINDA            ALBERT LEA        MN
1670   SASH                                                         RICHARD          ALBERT LEA        MN
1671   SASSOWER                                                     EDWARD           SAGAPONACK        NY
1672   SATAKE                                                       KRISTINE         HONOLULU          HI
1673   SATKA                                                        STEPHAN          MISSION           TX
1674   SATO                                                         JONATHAN         CAMPBELL          CA
1675   SAUNDERS                                                     MELISSA          STURGEON BAY      WI
1676   SAWYER                                                       ALICE            LEWISTOWN         IL
1677   SAYERS                                                       SHIRLEY          CARMICHAEL        CA
1678   SCANLON                                                      PATRICIA         HINCKLEY          OH
1679   SCHEETZ                                                      BRADLEY          GLOUCESTER        MA
1680   SCHIAVO                                                      JOHN             PORTLAND          OR
1681   SCHIMMEL                                                     ASHTON           PEACHTREE COR     GA
1682   SCHMITT                                                      MICHAEL          CEDAR RAPIDS      IA
1683   SCHNEIDER                                                    BRIAN            HATTIESBURG       MS
1684   SCHNEIDER                                                    DONNA            EASTPOINTE        MI
1685   SCHOEN                                                       SALLY            CORONA DEL MAR    CA
1686   SCHOLINK                                                     ANNA             MONTEREY          CA
1687   SCHOLINK                                                     SHONNA           MONTEREY          CA
1688   SCHULDT                                                      DOUGLAS          KALAMAZOO         MI
1689   SCHUMACHER                                                   SUSAN            WEST CHICAGO      IL
1690   SCHWEITZER                                                   ARTHUR           NEW YORK          NY
1691   SCLAFANI                                                     NANCY            NORRIDGE          IL
1692   SCOTT                                                        JOAN             SUMMERVILLE       SC
1693   SCOTT                                                        MICHAEL          HOUSTON           TX
1694   SCOTT                                                        NANCY            NORTH BRUNSWICK   NJ
1695   SCOTT                                                        SHIRLEY          GREENVILLE        FL
1696   SCRIBNER                                                     COLLEEN          DEMING            NM
1697   SEAY                                                         ELMER            RICHMOND          VA
1698   SEAY                                                         SHIRLEY          RICHMOND          VA
1699   SEBASTIANELLI                                                MARK             WOLCOTT           CT
1700   SEGALLE                                                      KATHRYN          ATASCADERO        CA
1701   SEIU LOCAL 1 & PARTICIPATING EMPLOYERS HEALTH TRUST                           CHICAGO           IL
1702   SELLERS                                                      CANDACE          MOBILE            AL
1703   SELLERS                                                      JOSEPH           MOBILE            AL
1704   SELLERS                                                      SHARON           MOBILE            AL
1705   SELS                                                         ALICE            PLEASANTVILLE     IA
1706   SELSTAD                                                      LISA             MINNEAPOLIS       MN
1707   SERBANTEZ                                                    MARIA            FREEPORT          TX
1708   SETON COASTSIDE                                                               DALY CITY         CA
1709   SETON MEDICAL CENTER                                                          DALY CITY         CA
1710   SETON MEDICAL CENTER FOUNDATION                                               DALY CITY         CA
1711   SEXTON                                                       DAVID            SAINT LOUIS       MO
1712   SHABICA & ASSOCIATES INC.                                                     NORTHFIELD        IL
1713   SHAFER                                                       LINDA            RAVENSWOOD        WV
1714   SHAFER                                                       THOMAS           RAVENSWOOD        WV
1715   SHAFFNER                                                     ANNE             WALTHAM           MA
1716   SHASTA REGIONAL MEDICAL GROUP, INC.                                           REDDING           CA
1717   SHAW'S SUPERMARKETS, INC.                                                     BOISE             ID
1718   SHEET METAL WORKERS LOCAL 73 WELFARE FUND                                     HILLSIDE          IL
1719   SHELBURNE                                                    WEILAND          BARDSTOWN         KY
1720   SHELLEY                                                      CONSTANCE        SCOTTSBLUFF       NE
1721   SHERWOOD                                                     JOHN             ALEXANDRIA        AL
1722   SHERWOOD                                                     ROBERT           ALEXANDRIA        AL
1723   SHEVCHENKO                                                   DMYTRO           KIRKLAND          WA
1724   SHIRLEY                                                      AMANDA           GATESVILLE        TX
1725   SHORT                                                        DIAN             URBANDALE         IA
1726   SHUBEL                                                       LAURA            NEWPORT           RI
1727   SHULTZ                                                       PATRICK          CORPUS CHRISTI    TX
1728   SHUMUNOV                                                     SHUGMI           SOUTHFIELD        MI
1729   SIBLEY                                                       CAROL            OAKWOOD           TX
1730   SIBLEY SR                                                    CHARLES          OAKWOOD           TX
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1731   SIEGENTHALER                                              ELLEN               YUKON            OK
1732   SIEMS                                                     CINDY               MESA             AZ
1733   SIGMAN                                                    MICHAEL             GERMANTOWN       TN
1734   SIGNET JEWELERS LTD                                                           AKRON            OH
1735   SIGUIDO                                                   CHRISTINE           PETALUMA         CA
1736   SILLAPACHAI                                               CORINNE             HONOLULU         HI
1737   SILVA                                                     JOSE                PORTERVILLE      CA
1738   SILVER                                                    MANDIE              MYRTLE BEACH     SC
1739   SIMECEK                                                   PATRICIA            TEMPLE           TX
1740   SIMON                                                     ERIKA               CHESAPEAKE       VA
1741   SIMON                                                     JOHN                TINLEY PARK      IL
1742   SIMON                                                     JUNE                BALDWIN CITY     KS
1743   SIMON DAVID                                                                   BOISE            ID
1744   SIMPKINS                                                  PHILIP              DALLAS           TX
1745   SIMPSON                                                   KATHLEEN            ALBANY           NY
1746   SIMPSON                                                   MICHAEL             ALBERTVILLE      AL
1747   SIMRELL                                                   STEVEN              NEWBERN          TN
1748   SINCLAIR                                                  DEBORAH             SAULT ST MARIE   MI
1749   SINER                                                     DANNY               HOUSTON          TX
1750   SINGH                                                     DARSHAN             ELK GROVE        CA
1751   SINGH                                                     GAGANDEEP           MANTECA          CA
1752   SINGIAN                                                   ALICE               WALNUT           CA
1753   SINGIAN                                                   EMMANUEL            WALNUT           CA
1754   SINGIAN                                                   JOSHUA              WALNUT           CA
1755   SIOMA                                                     STEVEN              CLARKSTON        MI
1756   SIRI                                                      WALTER              CARLSTADT        NJ
1757   SIRON                                                     BOBBY               CANYON COUNTRY   CA
1758   SIVALSKI                                                  STEVEN              MIDDLEBURG       FL
1759   SIVLEY                                                    JOHN                HELENA           AL
1760   SIZER                                                     DAVID               RICHARDSON       TX
1761   SKALETZKY                                                 GERALD              OSHTEMO          MI
1762   SKINNER                                                   ELIZABETH           SAN DIEGO        CA
1763   SKINNER                                                   JAMES               TINLEY PARK      IL
1764   SKINNER                                                   LORENE              TINLEY PARK      IL
1765   SKOUMAL                                                   DONNA               LISLE            IL
1766   SKOUMAL                                                   ESTATE OF MARIE     LISLE            IL
1767   SKOUMAL JR                                                WILLIAM             LISLE            IL
1768   SKROPKA                                                   HOLLY               IRON CITY        TN
1769   SLIFKA                                                    MYRA                MADISON          AL
1770   SLOCOMBE                                                  DORIS               FAIRFIELD        IA
1771   SLUPE                                                     JAMES               LOPEZ ISLAND     WA
1772   SMALL                                                     STEPHEN             KANSAS CITY      MO
1773   SMITH                                                     AARON               CLAWSON          MI
1774   SMITH                                                     ALICE               AMERICUS         GA
1775   SMITH                                                     BARBARA             FLORENCE         AL
1776   SMITH                                                     CHARLES             AMERICUS         GA
1777   SMITH                                                     CHARLOTTE           CHICAGO          IL
1778   SMITH                                                     CHERYLL             UNION GAP        WA
1779   SMITH                                                     DEBORAH             NORWALK          IA
1780   SMITH                                                     ESTATE OF DESALES   MECHANICSBURG    PA
1781   SMITH                                                     JULIE               SALEM            OR
1782   SMITH                                                     LETITIA             HASTINGS         MI
1783   SMITH                                                     MARGIE              TEXARKANA        AR
1784   SMITH                                                     MARY                HUTTO            TX
1785   SMITH                                                     MILDRED             WASHINGTON       PA
1786   SMITH                                                     MORGAN              EXPORT           PA
1787   SMITH                                                     PATRICIA            MECHANICSBURG    PA
1788   SMITH                                                     REGINA              SIOUX CITY       IA
1789   SMITH                                                     SAMMIE              FLORENCE         AL
1790   SMITH                                                     SARAH               CLAWSON          MI
1791   SMITH                                                     SARAHANN            SAINT LOUIS      MO
1792   SMITH                                                     SCOTT               COON RAPIDS      MN
1793   SMITH                                                     STANTON             HUTTO            TX
1794   SMITH                                                     TERESA              TABOR            IA
1795   SMITH SR                                                  TOMMIE              CHICAGO          IL
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                                 Business/Last Name                          First Name             City     State/Country
1796   SMITH'S                                                                            CINCINNATI       OH
1797   SMITH'S FOOD & DRUG CENTERS, INC.                                                  CINCINNATI       OH
1798   SNEED                                                          MATHEW              GRAND FORKS      ND
1799   SNIDEI-THOMPSON                                                LAIS                LOCKPORT         NY
1800   SNOW                                                           RICHARD             BANGOR           ME
1801   SNYDER                                                         JASON               PHILADELPHIA     PA
1802   SNYDER                                                         TERRY               JOHNSON CITY     NY
1803   SOCK                                                           RAYMOND             GENOA            NE
1804   SOCK                                                           SHARON              GENOA            NE
1805   SODERGREN                                                      DANIEL              LYNDEN           WA
1806   SOM                                                            CHANDARA            FORT SMITH       AR
1807   SONIUS                                                         ROGER               NICHOLSON        PA
1808   SORRELL                                                        PATRICIA            VACHERIE         LA
1809   SOTO                                                           FRANK               COLLEGEDALE      TN
1810   SOUCY                                                          GINGER              WATERTOWN        MA
1811   SOULE                                                          ANGELA              VALLEY GRANDE    AL
1812   SOUTHEAST ALABAMA MEDICAL CENTER                                                   DOTHAN           AL
1813   SPANGLER                                                       ELIZABETH           SARASOTA         FL
1814   SPEARS                                                         BESSIE              NEW BRAUNFELS    TX
1815   SPENCER                                                        JUNE                OSKALOOSA        IA
1816   SPIEKER                                                        MARK                LITTLETON        CO
1817   SPIKER                                                         ELIZABETH           WETMORE          KS
1818   SPIKER                                                         STEVEN              WETMORE          KS
1819   SPORTS MEDICAL MANAGEMENT, INC.                                                    DALY CITY        CA
1820   SRIKANT                                                        SAGAR               CALGARY          CANADA
1821   SRISHTI                                                        FNU                 NEW YORK         NY
1822   ST. FRANCIS CENTER OF LYNWOOD FOUNDATION                                           DALY CITY        CA
1823   ST. FRANCIS MEDICAL CENTER                                                         DALY CITY        CA
1824   ST. FRANCIS MEDICAL CENTER FOUNDATION                                              DALY CITY        CA
1825   ST. FRANCIS PHYSICIAN PRACTICES, LLC HEALTH BENEFITS PLAN                          BRENTWOOD        TN
1826   ST. LOUIS COUNTY, MISSOURI                                                         ST. LOUIS        MO
1827   ST. LOUISE REGIONAL HOSPITAL                                                       DALY CITY        CA
1828   ST. LOUISE REGIONAL HOSPITAL FOUNDATION                                            DALY CITY        CA
1829   ST. MARY'S OUTPATIENT SURGERY CENTER AT GALENA, LLC                                RENO             NV
1830   ST. MARY'S SURGICAL CENTER, LLC                                                    BLUE SPRINGS     MO
1831   ST. VINCENT DIALYSIS CENTER                                                        DALY CITY        CA
1832   ST. VINCENT FOUNDATION                                                             DALY CITY        CA
1833   ST. VINCENT MEDICAL CENTER                                                         DALY CITY        CA
1834   STAHL                                                          CHARITY             HURON            SD
1835   STALEY                                                         JOSEPH              MYERSTOWN        PA
1836   STALEY                                                         LOUISE              MYERSTOWN        PA
1837   STANFIELD                                                      SHANON              AUSTIN           TX
1838   STANILLA                                                       NATALIE             LEBANON          PA
1839   STANSBERRY                                                     JUDITH              KNOXVILLE        TN
1840   STAR MARKET                                                                        BOISE            ID
1841   STARASINICH                                                    BETH                JOLIET           IL
1842   STATEN ISLAND RAPID TRANSIT OPERATING AUTHORITY                                    STATEN ISLAND    NY
1843   STECHER                                                        DAVID               ATCHISON         KS
1844   STELMAS                                                        CAROL               FORT WORTH       TX
1845   STEPANOWICZ                                                    THOMAS              MARCY            NY
1846   STEVENS                                                        MICHELLE            HURLOCK          MD
1847   STEVENS                                                        SAGE                DREXEL HILL      PA
1848   STEVENS                                                        TAFFY               TUNKHANNOCK      PA
1849   STEVERS                                                        CHRISTOPHER         PEARISBURG       VA
1850   STOCKER                                                        DANNY               RICHTON PARK     IL
1851   STOCKER                                                        JANE                RICHTON PARK     IL
1852   STOCKS                                                         EDWARD              MEQUON           WI
1853   STOLTZ                                                         WALTER              LANCASTER        PA
1854   STONE                                                          LINDSEY             TACOMA           WA
1855   STORVICK                                                       DARRELL             TUKWILA          WA
1856   STORVICK                                                       DORA                TUKWILA          WA
1857   STOUFFER                                                       TERRI               HARRISON CITY    PA
1858   STOVER                                                         RONALD              NASHVILLE        TN
1859   STRAM                                                          SASHA               CHICO            CA
1860   STROBERG                                                       JANET               HUTCHINSON       KS
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                              Business/Last Name                                 First Name                City     State/Country
1861   STROBERG                                                           THOMAS              HUTCHINSON           KS
1862   STROEH                                                             BRADLEY             WEST CHESTER         OH
1863   STROM                                                              JOSEPH              TELFORD              PA
1864   STRONG                                                             EMILY               LEXINGTON            VA
1865   STRUCTURAL IRON WORKERS LOCAL 1 WELFARE FUND                                           FOREST PARK          IL
1866   STUBBEMAN                                                          NICHOLE             EAST BREWTON         AL
1867   SUAREZ                                                             SILVIA              MIAMI                FL
1868   SUBURBAN MEDICAL GROUP, LLC                                                            EAST NORRITON        PA
1869   SUDOL                                                              ESTATE OF LULA      BERLIN               CT
1870   SUE                                                                SUSAN               SAN DIEGO            CA
1871   SUEN                                                               LEEANN              CULVER CITY          CA
1872   SULVITSKY                                                          TATYANA             CHICAGO              IL
1873   SUMMERS                                                            ASHLEY              SCOTTSDALE           AZ
1874   SUN                                                                OU                  VALLEY VILLAGE       CA
1875   SUPERVALU GROUP HEALTH PLAN                                                            PROVIDENCE           RI
1876   SUPERVALU INC.                                                                         PROVIDENCE           RI
1877   SUPERVALU RETIREE BENEFIT PLAN                                                         PROVIDENCE           RI
1878   SURIANO                                                            FRANCIS             ATLANTIC HIGHLANDS   NJ
1879   SURIANO                                                            MARY                ATLANTIC HIGHLANDS   NJ
1880   SUZUKI                                                             TADASHI             SACRAMENTO           CA
1881   SWEAT                                                              ESTATE OF L W       LADSON               SC
1882   SWEAT                                                              GWENDOLYN           LADSON               SC
1883   SWELEY                                                             JOSHUA              OMAHA                NE
1884   SWENSSON                                                           SHANNON             PASO ROBLES          CA
1885   SWETLIK                                                            THEODORE            FOND DU LAC          WI
1886   SYKES                                                              CHARLES             ROSWELL              NM
1887   SYKES                                                              POLLY               ROSWELL              NM
1888   TABOR                                                              MARY                LOWELL               MA
1889   TAKAHASHI                                                          LORRIN              KANEOHE              HI
1890   TALIERCIO                                                          MICHAEL             NORWALK              CT
1891   TANAKA                                                             MAKI                FORT WORTH           TX
1892   TANDESKI                                                           KATHLEEN            CHICO                CA
1893   TANIMOTO                                                           MAILE               PEARL CITY           HI
1894   TARABHUDI                                                          BENJAMART           MILLSBORO            DE
1895   TARLE                                                              GREG                CANAL FULTON         OH
1896   TATE                                                               EDITH               MAYNARD              AR
1897   TATE                                                               JANE                ROSWELL              NM
1898   TATE                                                               ROSELIE             LAS VEGAS            NV
1899   TATE II                                                            ROBERT              AUSTIN               TX
1900   TAYLOR                                                             ALAN                LEBANON              PA
1901   TAYLOR                                                             ANNA                EVERETT              MA
1902   TAYLOR                                                             CLARICE             TIGARD               OR
1903   TEAMSTERS LOCAL 786 BUILDING MATERIAL WELFARE FUND                                     CHICAGO              IL
1904   TEARLE                                                             CHRISTINE           SAMSON               AL
1905   TEETZEN                                                            DANELLE             WICHITA              KS
1906   TEICHMAN                                                           BENJAMIN            LAFAYETTE            CA
1907   TEKO PIPE TESTING                                                                      NESS CITY            KS
1908   TENAGLIA                                                           LUIZ                SEATTLE              WA
1909   TENNESSEE THERAPY & BALANCE CENTER, LLC                                                COOKEVILLE           TN
1910   TERRY                                                              JANET               MURRIETA             CA
1911   TESINSKY                                                           RUTH                CHICAGO              IL
1912   TEXAS GULF COAST AIR CONDITIONING, LLC                                                 HOUSTON              TX
1913   THE BOARD OF PENSIONS OF THE PRESBYTERIAN CHURCH (U.S.A.)                              PHILADELPHIA         PA
1914   THE BOEING COMPANY                                                                     CHICAGO              IL
1915   THE BURLINGTON NORTHERN SANTA FE EMPLOYEE BENEFITS COMMITTEE FOR                       FORT WORTH           TX
       THE BURLINGTON NORTHERN SANTA FE CORPORATION GROUP BENEFITS PLAN
1916   THE CARPENTERS AND JOINERS WELFARE FUND                                                BLOOMINGTON          MN
1917   THE EMPLOYEE BENEFIT PLANS COMMITTEE OF THE BOEING COMPANY                             CHICAGO              IL
1918   THE GENERAL BOARD OF PENSION AND HEALTH BENEFITS OF THE UNITED                         GLENVIEW             IL
       METHODIST CHURCH
1919   THE KRAFT HEINZ COMPANY                                                                CHICAGO              IL
1920   THE KROGER CO.                                                                         CINCINNATI           OH
1921   THE KROGER CO. HEALTH AND WELFARE BENEFIT PLAN                                         CINCINNATI           OH
1922   THE KROGER CO. OF MICHIGAN                                                             CINCINNATI           OH
1923   THE LAW OFFICES OF STEPHEN D. JUDGE                                                    SALEM                MA
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                              Business/Last Name                           First Name                 City    State/Country
1924   THE LAW OFFICES OF STEPHEN D. JUDGE                                              LYNN                 MA
1925   THE LOCAL NO. 1 HEALTH FUND                                                      DOWNERS GROVE        IL
1926   THE LONG ISLAND RAIL ROAD COMPANY                                                JAMAICA              NY
1927   THE MBM CORPORATION                                                              ROCKY MOUNT          NC
1928   THE OHIO VALLEY HOME HEALTH SERVICES, INC.                                       EAST LIVERPOOL       OH
1929   THE SMALL ASSOCIATES                                                             KANSAS CITY          MO
1930   THE VONS COMPANIES, INC.                                                         BOISE                ID
1931   THEDE                                                           ROBERT           LAS VEGAS            NV
1932   THIBODEAUX                                                      HOMER            CHURCH POINT         LA
1933   THOMA                                                           DORIS            SHERIDAN             WY
1934   THOMA                                                           KENNETH          SHERIDAN             WY
1935   THOMAS                                                          DOROTHY          TERRE HAUTE          IN
1936   THOMAS                                                          EDITH            SOUTH PORTLAND       ME
1937   THOMAS                                                          EDWARD           LOS ANGELES          CA
1938   THOMAS                                                          RITA             HOUSTON              TX
1939   TIGHE                                                           DARIA            SEATTLE              WA
1940   TIMMERMAN                                                       GENEVA           DAYTON               NV
1941   TIMMERMAN                                                       MICHAEL          DAYTON               NV
1942   TINNER                                                          LASHIRL          KANSAS CITY          MO
1943   TISDALE                                                         MARY             THOMPSONS STATION    TN
1944   TIVERON                                                         FRANCES          LAGUNA HILLS         CA
1945   TODD                                                            RUSSEL           WASHINGTON           UT
1946   TOLBERT WASHINGTON                                              BARBARA          HURTSBORO            AL
1947   TOLEDO                                                          RUSLAN           NAPLES               FL
1948   TOM THUMB FOOD & DRUGS                                                           BOISE                ID
1949   TOMSEN                                                          KATRINA          MINDEN               NE
1950   TORRES                                                          JORGE            SAN YSIDRO           CA
1951   TOUCHETTE                                                       EMELIA           KENWOOD              CA
1952   TRACTOR SUPPLY COMPANY                                                           BRENTWOOD            TN
1953   TRACTOR SUPPLY COMPANY HEALTH & WELFARE PLAN                                     BRENTWOOD            TN
1954   TRAN                                                            LESA             BRANFORD             CT
1955   TRAN                                                            NHUNG            MARINA               CA
1956   TRAVLOS                                                         MEAGAN           RICHMOND             CA
1957   TREADWELL                                                       ELISABETH        OJAI                 CA
1958   TRENARY                                                         BARBARA          INDEPENDENCE         MO
1959   TRIBIE                                                          LYONETTE         BROOKLYN             NY
1960   TRIBOROUGH BRIDGE AND TUNNEL AUTHORITY                                           NEW YORK             NY
1961   TROUTMAN                                                        ANNA             BURKE                VA
1962   TRUAN                                                           STEPHEN          KNOXVILLE            TN
1963   TSUE                                                            DAVID            KANEOHE              HI
1964   TUCKER                                                          DAVID            LAFAYETTE            AL
1965   TUNELL                                                          BRIDGETTE        GAINES               MI
1966   TURNER                                                          SHERRY           PINE MOUNTAIN        GA
1967   TUTTLE                                                          CYNTHIA          ADKINS               TX
1968   TUTTLE                                                          JAIMI            ELMHURST             IL
1969   TUTTLE                                                          RYAN             ELMHURST             IL
1970   TYSON FOODS, INC.                                                                SPRINGDALE           AR
1971   ULMER                                                           SYLVIA           METAIRIE             LA
1972   ULRICH                                                          WILLIAM          OJAI                 CA
1973   UNDERWOOD                                                       WILLIAM          BIRMINGHAM           AL
1974   UNFI HEALTH AND WELFARE PLAN                                                     PROVIDENCE           RI
1975   UNIFIED GROCERS, INC.                                                            PROVIDENCE           RI
1976   UNIFIED GROCERS, INC. GROUP WELFARE PLAN                                         PROVIDENCE           RI
1977   UNIFIED GROCERS, INC. RETIREE MEDICAL PLAN                                       PROVIDENCE           RI
1978   UNITED FOOD & COMMERCIAL WORKERS LOCAL NO. 1546 FOOD HANDLERS
       WELFARE FUND                                                                     OAK BROOK            IL
1979   UNITED HOME HEALTH SERVICES, INC.                                                GARDEN CITY          MI
1980   UNITED NATURAL FODDS EMPLOYEE BENEFIT PLAN                                       PROVIDENCE           RI
1981   UNITED NATURAL FOODS, INC.                                                       PROVIDENCE           RI
1982   US FOODS                                                                         ROSEMONT             IL
1983   VALLE                                                           JOSE             CAMUY                PR
1984   VAN DER HOEVEN                                                  INGE             BELLINGHAM           MA
1985   VAN DYNE                                                        DAVID            KANSAS CITY          MO
1986   VANDENBERG                                                      KATY             WAUWATOSA            WI
1987   VANHANDEL                                                       NATALIE          SEYMOUR              WI
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                              Business/Last Name                      First Name             City       State/Country
1988   VARELA                                                     LETICIA          FREDERICKSBURG      VA
1989   VAUGHAN                                                    BARBARA          MASONIC HOME        KY
1990   VEMURI                                                     RAVIKIRAN        SUNNYVALE           CA
1991   VERITAS HEALTH SERVICES, INC.                                               CHINO               CA
1992   VERITY BUSINESS SERVICES                                                    DALY CITY           CA
1993   VERITY HEALTH SYSTEM                                                        REDWOOD CITY        CA
1994   VERITY HOLDINGS, LLC                                                        DALY CITY           CA
1995   VERITY MEDICAL FOUNDATION                                                   DALY CITY           CA
1996   VHOLDINGS MOB, LLC                                                          DALY CITY           CA
1997   VICARI                                                     SAMUEL           NEW BALTIMORE       MI
1998   VIGLIANTE                                                  AMALIA           SANTA MONICA        CA
1999   VIGUERS                                                    SCHOONER         SANTA CRUZ          CA
2000   VILELLE                                                    MARTHA           RENO                NV
2001   VILLAR                                                     MESHA            LAKE CITY           FL
2002   VISCONTI                                                   BARBARA          GREENSBURG          PA
2003   VITEAUX                                                    ANNE             HOUMA               LA
2004   VOCI                                                       NICOLE           EAST FALMOUTH       MA
2005   VONS                                                                        BOISE               ID
2006   VONS GROCERY COMPANY                                                        BOISE               ID
2007   VORA                                                       FIROZUDDIN       SAUSALITO           CA
2008   VUCKOVICH                                                  STEVEN           FREEDOM             PA
2009   VULGAMOTT                                                  MICHELLE         PLATTSMOUTH         NE
2010   WADE                                                       BRITTANY         HOUSTON             TX
2011   WADENA AGENCY INC                                                           MILTONA             MN
2012   WAFFLE HOUSE, INC.                                                          NORCROSS            GA
2013   WAGNER                                                     DIANA            MIDDLETOWN          PA
2014   WAGNER                                                     JONATHAN         CARMEL              IN
2015   WAID                                                       ESTATE OF GARY   WICHITA FALLS       TX
2016   WALD                                                       MELINDA          FARGO               ND
2017   WALGREEN CO. AND WALGREEN HEALTH AND WELFARE PLAN                           DEERFIELD           IL
2018   WALKER                                                     BRENDA           PINSON              AL
2019   WALKER                                                     ERIKA            DOWNERS GROVE       IL
2020   WALKER                                                     GINA             HENDERSON           NV
2021   WALKER                                                     PATRICK          UNIONTOWN           AL
2022   WALKER                                                     VINA             ALMA                AR
2023   WALLACE                                                    JESSICA          SAN JOSE            CA
2024   WALTERS                                                    ANN              VALRICO             FL
2025   WALTERS                                                    JERRY            BROOKSVILLE         FL
2026   WALTERS                                                    PATRICIA         BROOKSVILLE         FL
2027   WALTERS                                                    REBECCA          MOUNT DORA          FL
2028   WALTERS                                                    SAMUEL           SATANTA             KS
2029   WALTON                                                     KAREN            FORT VALLEY         GA
2030   WANNER                                                     EARL             ROCHESTER           MN
2031   WARD                                                       CHELSEA          MOUNT HOLLY         NJ
2032   WARD                                                       ELI              OTTUMWA             IA
2033   WARD                                                       PAULINE          LONG BEACH          CA
2034   WARREN                                                     CAROL            UNDERHILL           VT
2035   WARREN                                                     GARY             UNDERHILL           VT
2036   WARREN                                                     SEAN             FALLBROOK           CA
2037   WASHBURN                                                   STEVEN           AUSTIN              TX
2038   WATKINS                                                    KEVAN            VALRICO             FL
2039   WATSON                                                     FRANCES          THOMPSONS STATION   TN
2040   WEBERG                                                     LOWELL           DULUTH              MN
2041   WEBSTER                                                    JENNIFER         LOS ANGELES         CA
2042   WEGENER                                                    KATHLEEN         LAKESIDE            CA
2043   WEHMHOFF                                                   RICHARD          BLOOMINGTON         MN
2044   WEIDMAN                                                    MARY             AKRON               PA
2045   WELCH                                                      MICHAEL          TELFORD             TN
2046   WELCH                                                      NANCY            FARRAGUT            TN
2047   WELLNESS INC                                                                HUTCHINSON          KS
2048   WELLS                                                      BETTY            AUBURN              CA
2049   WELLS FARGO & COMPANY                                                       MINNEAPOLIS         MN
2050   WELLS FARGO & COMPANY HEALTH PLAN                                           MINNEAPOLIS         MN
2051   WENTWORTH                                                  HENRIETTA        HUTCHINSON          MN
2052   WENTZ                                                      CHARLYN          SYKESVILLE          MD
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2053   WENTZ                                                       HARRY            SYKESVILLE        MD
2054   WERT                                                        BARBARA          FORT COLLINS      CO
2055   WESSELS                                                     MARCELLA         MOSCOW            ID
2056   WESSELS                                                     WARREN           MOSCOW            ID
2057   WEST                                                        ADRINETTE        SAVANNAH          GA
2058   WEST                                                        CHESTER          LOUISVILLE        KY
2059   WEST                                                        VERONICA         TUCSON            AZ
2060   WESTON III                                                  WILLIAM          AUGUSTA           GA
2061   WHEELER                                                     MANDY            COLUMBUS          OH
2062   WHIPPERMAN                                                  DESIREE          TEMPLE CITY       CA
2063   WHISENANT                                                   WILLIAM          ELLENTON          FL
2064   WHITE                                                       ANDREIA          CHELSEA           AL
2065   WHITE                                                       JUDITH           TINLEY PARK       IL
2066   WHITE                                                       KAREN            EAST BETHEL       MN
2067   WHITE                                                       NICHOLAS         CHELSEA           AL
2068   WHITE                                                       REBECCA          VENTURA           CA
2069   WHITE                                                       RITA             SOUTHSIDE         AL
2070   WHITE                                                       THEODORE         EAST BETHEL       MN
2071   WHITEHOUSE                                                  TIMOTHY          SALEM             OH
2072   WHITLATCH                                                   JEFFREY          COSTA MESA        CA
2073   WHORTON                                                     DENNIS           PUEBLO            CO
2074   WIENEKE                                                     NANCY            OCALA             FL
2075   WIGGINS                                                     BRENDEN          SANTA FE          NM
2076   WILBERG                                                     BRADLEY          ROCKLEDGE         FL
2077   WILCOX                                                      CHARLES          PENSACOLA         FL
2078   WILD WEST WELL SERVICE INC                                                   NESS CITY         KS
2079   WILDERNESS PRODUCTIONS, LLC                                                  WESTERVILLE       OH
2080   WILHELM                                                     KATELYN          NAPERVILLE        IL
2081   WILKINSON                                                   SUSAN            LOS OSOS          CA
2082   WILLIAMS                                                    ANDREW           SAFFORD           AL
2083   WILLIAMS                                                    CHARLA           BRASELTON         GA
2084   WILLIAMS                                                    EMILY            TROY              AL
2085   WILLIAMS                                                    EVELYN           SAFFORD           AL
2086   WILLIAMS                                                    HEATHER          FORT HOOD         TX
2087   WILLIAMS                                                    JOHN             BRASELTON         GA
2088   WILLIAMS                                                    JOYCE            WATERLOO          IL
2089   WILLIAMS                                                    KATHY            UNIONTOWN         AL
2090   WILLIAMS                                                    LACON            JACKSONVILLE      FL
2091   WILLIAMS                                                    LISA             JEFFERSON CITY    MO
2092   WILLIAMS                                                    LUCILLE          COUNCIL BLUFFS    IA
2093   WILLIAMS                                                    MARGARET         FORT BRAGG        CA
2094   WILLIAMS, JR.                                               EDDIE            UNIONTOWN         AL
2095   WILLIS                                                      THOMAS           WADSWORTH         OH
2096   WILLLIAMS                                                   SANABRIA         BIRMINGHAM        AL
2097   WILLS                                                       GALEN            ARLINGTON         MN
2098   WILSHER                                                     DONNA            LIVONIA           MI
2099   WILSON                                                      CHARLES          PITTSBURG         TX
2100   WILSON                                                      THOMAS           PORTLAND          OR
2101   WISNIEWSKI                                                  GARY             DIAMOND BAR       CA
2102   WITHROW                                                     BEVERLY          FRANKFORD         WV
2103   WITT                                                        SHEILA           TUSTIN            CA
2104   WITT                                                        STEVEN           TUSTIN            CA
2105   WITT LAW FIRM PC                                                             TUSTIN            CA
2106   WOBIG                                                       AMANDA           VIRGINIA BCH      VA
2107   WOJCIK                                                      PATRICIA         CHICAGO           IL
2108   WOLF                                                        KENDRA           HOBBS             NM
2109   WOLFF                                                       FRED             ORR               MN
2110   WOLLERT II                                                  LARRY            DALLAS            TX
2111   WONG                                                        DEREK            SAN LEANDRO       CA
2112   WONG                                                        KALLIN           SAN LEANDRO       CA
2113   WONG                                                        STANLEY          ROSLYN HEIGHTS    NY
2114   WOODARD                                                     GERTRUDE         RAMONA            CA
2115   WOODS                                                       LYDIA            LEHIGH ACRES      FL
2116   WOODS                                                       TERESA           MOSELEY           VA
2117   WORSTER                                                     ROYCENE          LEE               ME
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 2118   WORTZ                                                        LARRY            ADRIAN             MI
 2119   WRASSE                                                       GEORGE           BAILEYVILLE        IL
 2120   WRASSE                                                       PAMELA           BAILEYVILLE        IL
 2121   WRIGHT                                                       BREANNA          HARRIMAN           TN
 2122   WU                                                           PO YEUNG         NEW BOSTON         TX
 2123   WYATT                                                        BONNIE           PUEBLO             CO
 2124   WYSZYNSKI                                                    JULIO            BROOKLYN           NY
 2125   YEE PAULSON                                                  CHRISTOPHER      ARLINGTON          VA
 2126   YOUNG                                                        ANNETTE          BERKLEY            MI
 2127   YOUNG                                                        CYNTHIA          ROCHESTER HILLS    MI
 2128   YOUNG                                                        JULIE            EDMOND             OK
 2129   YOUNG                                                        MARCIA           EDINA              MN
 2130   YOUNG                                                        VICKI            LOS ALAMITOS       CA
 2131   ZAGAR                                                        BEVERLY          BETHALTO           IL
 2132   ZAPATA RODRIGUEZ                                             ESTEFANIA        OAKLAND            CA
 2133   ZBUCHALSKI                                                   LORRAINE         ROCKAWAY           NJ
 2134   ZEBLEY                                                       SHARON           FORT MYERS         FL
 2135   ZENKER                                                       ROBERT           ISSAQUAH           WA
 2136   ZEWE                                                         DEBORAH          ROCKLIN            CA
 2137   ZEWE                                                         GEORGE           ROCKLIN            CA
 2138   ZHANG                                                        CONNIE           CHAPEL HILL        NC
 2139   ZHANG                                                        YANPING          NORTHVILLE         MI
 2140   ZHU                                                          YAHUI            CHANTILLY          VA
 2141   ZITOLI                                                       PETER            COCONUT CREEK      FL
 2142   ZOLLERS                                                      ERICA            GROVES             TX
 2143   ZOOK                                                         TIAYEASE         SCHUYLKILL HAVEN   PA
 2144   ZUCHNIARZ                                                    IRENEUSZ         WAUCONDA           IL
 2145   ZUCHNIARZ                                                    SHERRI           WAUCONDA           IL
 2146   ZUNIGA-SPINELLI                                              CHRISTINE        ACTON              MA
*2147   NESTLE USA, INC.                                                              SOLON              OH
*2148   PACIFIC GAS AND ELECTRIC COMPANY                                              CONCORD            CA
*2149   PACIFIC GAS AND ELECTRIC COMPANY TRUSTS                                       CONCORD            CA
*2150   RAYTHEON TECHNOLOGIES CORPORATION                                             WALTHAM            MA
*2151   SEARS HOLDINGS CORPORATION                                                    NEW YORK           NY
*2152   STARBUCKS CORPORATION                                                         SEATTLE            WA
